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                        Exhibit D
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                                                                       Page 1

 1
 2                    H I G H L Y         C O N F I D E N T I A L
 3             IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF VIRGINIA
 4             ALEXANDRIA DIVISION
               -----------------------------x
 5             UNITED STATES, et al.,
 6                             Plaintiffs,
 7                          vs.                            Case No.
                                                           1:23-cv-000108
 8             GOOGLE LLC,
 9                             Defendant.
               -----------------------------x
10
11
12                             HIGHLY CONFIDENTIAL
13                       REMOTE/ORAL/WEB VIDEOCONFERENCE
14                  VIDEOTAPED DEPOSITION OF JAMES GLOGOVSKY
15                           Friday, August 25, 2023
16                                    9:11 a.m.
17
18
19
20
21
22
23             Reported by:
               Jennifer Ocampo-Guzman, CRR, CLR
24
25           Job No. CS6072653

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                                                                  Page 2

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 3
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 6
 7
 8                                     August 25, 2023
 9                                     9:11 a.m.
10
11
12                            HIGHLY CONFIDENTIAL
13                        Remote/Oral/Web Videoconference
14                  Videotaped Deposition of JAMES
15                  GLOGOVSKY, held via Zoom Web
16                  Videoconference, pursuant to subpoena,
17                  before Jennifer Ocampo-Guzman, a
18                  Certified Realtime Shorthand Reporter
19                  and Notary Public of the State of New
20                  Jersey.
21
22
23
24
25

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                                                                  Page 3

 1
 2             A P P E A R A N C E S:
 3
 4                  UNITED STATES DEPARTMENT OF JUSTICE
 5                  Attorneys for Plaintiff United States
 6                        325 7th Street, Suite 300
 7                        Washington, DC 20004
 8                  BY:   JEFFREY VERNON, ESQ.
 9                        DIANA HENRY, ESQ.
10                        RACHEL HANSEN, ESQ.
11                        LEVI MARKS, ESQ.
12
13                  NEW YORK STATE OFFICE OF THE ATTORNEY
14                  GENERAL
15                  Attorney for Plaintiff State of New York
16                        28 Liberty Street
17                        New York, New York 10005
18                  BY:   MORGAN FEDER, ESQ.
19
20
21
22
23
24
25

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                                                                  Page 4

 1
 2             APPEARANCES (Continued):
 3
 4                  PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
 5                  Attorneys for Defendant Google LLC
 6                        1285 Avenue of the Americas
 7                        New York, New York 10019
 8                  BY:   ERIN J. MORGAN, ESQ.
 9                        ELIZABETH NORFORD, ESQ.
10
11
12                  THE NEW YORK TIMES
13                  Attorney for The New York Times and the
14                  Deponent
15                        620 Eighth Avenue
16                        New York, New York 10018
17                  BY:   DEMETRI BLAISDELL, ESQ.
18
19
20             ALSO PRESENT:
21                  MARC FRIEDMAN, Videographer
22
23
24
25

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                                                                       Page 5

 1                       HIGHLY CONFIDENTIAL
 2                        THE VIDEOGRAPHER:            Good morning.
 3                  We are going on the record at 9:11 a.m.
 4                  on Friday, August 25, 2023.               Please note
 5                  this deposition is being conducted
 6                  virtually.     Quality of recording depends
 7                  on the quality of the camera and
 8                  internet connection of all participants.
 9                  What is heard from the witness and seen
10                  on screen is what will be recorded.
11                  Audio and video recording will continue
12                  to take place unless all parties agree
13                  to go off the record.            This is media
14                  unit number 1 of the video-recorded
15                  deposition of James Glogovsky in the
16                  matter of United States, et al., versus
17                  Google LLC.      This case is filed in the
18                  United States District Court, Eastern
19                  District of Virginia, Alexandria
20                  division, case number 1:23-CV-00108.
21                        My name is Marc Friedman.              I'm the
22                  certified video legal specialist and
23                  your court reporter today is Jennifer
24                  Guzman and we are both from the firm of
25                  Veritext Legal Solutions.               I'm not

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                                                                      Page 6

 1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
 2                    related to any party in this action, nor
 3                    am I financially interested in the
 4                    outcome.      If there are any objections to
 5                    these proceedings, please state them
 6                    now.
 7                           Hearing no objection, counsel will
 8                    be noted on the stenographic record.
 9                           At this time our court reporter
10                    will swear in our witness and we can
11                    proceed.
12             J A M E S         G L O G O V S K Y, called as a
13             witness, having been duly sworn by a Notary
14             Public, was examined and testified as
15             follows:
16             EXAMINATION BY
17             MS. MORGAN:
18                    Q.     Good morning, Mr. Glogovsky.        We
19             met right before we started, but I'm Erin
20             Morgan.     I work at a law firm called Paul
21             Weiss and I represent Google in this case.
22                           Have you ever been deposed before?
23                    A.     Yes.
24                           MS. MORGAN:        I'm getting a little
25                    bit of a delay.         Is anybody else getting

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                                                                  Page 10

 1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
 2                    A.   I studied at Southern Illinois
 3             University in Carbondale, Illinois.
 4                    Q.   What did you study?
 5                    A.   Finance.
 6                    Q.   And what did you do after college?
 7                    A.   I began working at the Weather
 8             Channel, in media.
 9                    Q.   And I'm sorry.          I didn't hear --
10             oh, in media, okay.
11                         How long were at the Weather
12             Channel?
13                    A.   A little over five years.
14                    Q.   And then where did you go after
15             that?
16                    A.   I went to a startup.
17                    Q.   What kind of start up?
18                    A.   It was an agency startup, for
19             media.
20                    Q.   Like an ad agency?
21                    A.   Yes.
22                    Q.   What was that agency called?
23                    A.   Anthro Agency.
24                    Q.   And what did you do there?
25                    A.   I was director of strategy and

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                                                                 Page 11

 1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
 2             operations.
 3                    Q.   What kind of strategy were you
 4             directing?
 5                         MR. BLAISDELL:         Object to the form
 6                    of the question.
 7                    A.   Largely media strategy work.
 8                    Q.   When you say media, what are you
 9             referring to?
10                    A.   Display and social media, across a
11             handful of platforms.
12                    Q.   What kind of platforms?
13                    A.   Ad buying platforms.
14                         (Discussion off the record.)
15                         MS. MORGAN:       Maybe you could just
16                    try to speak up.       Okay.
17                    Q.   What ad buying platforms?
18                    A.   There were a number of them.
19             Mostly, the predominant ones in social and
20             display media --
21                                      (Discussion off the
22             record.)
23                         MS. MORGAN:       Can we go off the
24                    record again and try to troubleshoot
25                    this.   I don't want to use time on the

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    record to work on the audio.
  3                         THE VIDEOGRAPHER:             Standby, the
  4                    time is 9:21 a.m.          We're going off the
  5                    record.
  6                         (A brief recess was taken.)
  7                         THE VIDEOGRAPHER:             The time is
  8                    9:26 a.m. and we are back on the record.
  9                    Q.   Okay.     After another audio break, I
 10             think we're ready to continue.                 Right before
 11             the break, you were saying, I think that at
 12             your previous job, at an ad agency, you
 13             directed strategy related to ad buying in
 14             social media and display media; is that
 15             right?
 16                    A.   Yes.
 17                    Q.   Okay.     What type of, can you give
 18             me just like a couple of examples of the
 19             platforms you were buying on?
 20                    A.   We were primarily buying on DB,
 21             Google's buying platform.
 22                    Q.   Okay.     When did you come to The New
 23             York Times?
 24                    A.   I joined The New York Times in
 25             2017, I believe in August.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   Was there anything between the ad
  3             agency and New York Times?
  4                    A.   I worked at Vice Media.
  5                    Q.   What did you do at Vice?
  6                    A.   I was director of revenue
  7             operations.
  8                    Q.   And what did that entail?
  9                    A.   It included the responsibilities of
 10             managing our monetization efforts around
 11             programmatic, also the pricing and inventory
 12             responsibilities for our direct business and
 13             then also managing a lot of our data
 14             operations to ensure that we had accurate
 15             forecasting.
 16                    Q.   It's a lot of things.
 17                         Okay.     So you came to The New York
 18             Times in 2017.       What was your role when you
 19             came to the Times?
 20                    A.   I started at The New York Times as
 21             director of yield.
 22                    Q.   What did that role entail?
 23                    A.   Primary responsibilities was the
 24             pricing and inventory for our direct
 25             business.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   How has your role changed over
  3             time, just briefly?
  4                    A.   My role has evolved and changed
  5             periodically.    I went from director of yield
  6             to now vice president of revenue operations
  7             and analytics, which has a broader remit.
  8                    Q.   What is that broader remit, what's
  9             your -- what do you do now?
 10                    A.   I still oversee digital direct
 11             pricing and inventory, with the additions of
 12             our print business, also custom pricing,
 13             sales planning or media planning, ad
 14             operations and solutions and programmatic.
 15                    Q.   I think you said this, but you do
 16             that across digital and print?
 17                    A.   That is correct.
 18                    Q.   Okay.     I am going to come back to
 19             that.
 20                         But I want to start by asking
 21             whether you're aware that between the fall of
 22             2019 through 2021 the Department of Justice
 23             conducted an investigation into Google's ad
 24             tech business.       Are you aware of that?
 25                    A.   I am aware.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    realtime as saying something that I was
  3                    saying that I did not.
  4                         (Discussion off the record.)
  5                         MS. MORGAN:        I want to move on to
  6                    talking about a topic that I think will
  7                    not surprise you that we are going to
  8                    cover, which is advertising.
  9                    Q.   Does The New York Times make money
 10             by selling ad space?
 11                    A.   Yes.
 12                    Q.   Does The New York Times print ads?
 13                    A.   Yes.
 14                    Q.   Did The New York Times also sell
 15             digital ads?
 16                    A.   Yes.
 17                    Q.   Where do digital ads run?
 18                    A.   Digital ads run across our many
 19             surfaces, both web and app base.
 20                    Q.   When you say "web," is that
 21             NewYorkTimes.com or is there some other
 22             aspect of the web?
 23                    A.   That is NewYorkTimes.com, along
 24             with our games, cooking, athletic.
 25                    Q.   Are there individual apps for

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             games, cooking and the athletic?
  3                    A.   Yes.
  4                    Q.   And is there also a New York Times
  5             app?
  6                    A.   Yes.
  7                         MS. MORGAN:        I will confess.   I
  8                    have all of those apps.
  9                    Q.   Digital ads, do digital ads run on
 10             all of those different apps?
 11                    A.   Yes.
 12                    Q.   Does The New York Times run ads
 13             during its podcasts?
 14                    A.   Yes.
 15                    Q.   Is that considered part of digital?
 16                    A.   We classify audio as part of
 17             digital.
 18                    Q.   Does The New York Times run e-mail
 19             ads?
 20                    A.   Yes.
 21                    Q.   Are those also classified as part
 22             of digital?
 23                    A.   Yes.
 24                    Q.   Any other things that fall into
 25             that digital category that you can think of?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.   We also have a video business
  3             within the web and apps, and that would be
  4             considered digital as well.            And we also have
  5             a custom or a branded content studio which
  6             produces mostly digital content, which would
  7             also be classified as digital.
  8                    Q.   Does the -- where does the branded
  9             content run?
 10                    A.   Largely on NewYorkTimes.com.
 11                    Q.   And is the -- when you refer to the
 12             branded content, are you talking about The
 13             New York Times branded content or content for
 14             other advertisers?
 15                    A.   It is mostly other advertisers'
 16             content that we help craft with them.
 17                    Q.   I'm going to come back to this,
 18             because there is a lot to unpack here.
 19                         But generally, who advertises on
 20             New York Times' properties?
 21                         MR. BLAISDELL:        Object to the form
 22                    of the question.
 23                    A.   It's a broad-based number of
 24             advertisers across a number of categories.
 25                    Q.   Do advertisers typically buy only

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MR. BLAISDELL:           Objection to form.
  3                    A.   It's a difficult question.             We
  4             typically receive RFPs from an agency or an
  5             advertiser that has a number of desires or
  6             stipulations in which they're trying to
  7             accomplish.      They may produce that they are
  8             soliciting RFPs from a number of different
  9             publishers, but it does vary greatly
 10             depending on the agency and advertiser.
 11                    Q.   Okay.     Let's take a look at a
 12             document, which is Bates stamped
 13             NYTGOOGADTECH 0004.
 14                         MS. MORGAN:         Libby, can you put
 15                    that in the exhibit?           Okay.    This is
 16                    going to be our next great tech
 17                    experiment, if we can get this document
 18                    to work.
 19                         (Discussion off the record.)
 20                         MS. MORGAN:         Oh, yes, refresh the
 21                    folder.
 22                         MR. VERNON:         I don't see it yet.
 23                    Oh, there we go.
 24                         MS. MORGAN:         Okay, great.
 25                         (NYT Exhibit 1, Document entitled,

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    "Ad Leadership Update-March4," Bates
  3                    Nos. NYTGOOGADTECH0000004 through
  4                    NYTGOOGADTECH0000019, marked for
  5                    identification, this date.)
  6                    Q.    Mr.    Glogovsky, do you see that
  7             exhibit in the folder?
  8                    A.    I do not.
  9                    Q.    Did you try refreshing it?
 10                          MR. VERNON:        It worked for me, but
 11                    it's only loaded in part.
 12                          MS. MORGAN:        Can we go off the
 13                    record while we get it loaded.
 14                          MR. BLAISDELL:          That's fine with
 15                    me.
 16                          THE VIDEOGRAPHER:            Standby, please.
 17                    The time is 9:57.          We are going off the
 18                    record.
 19                          (A brief recess was taken.)
 20                          THE VIDEOGRAPHER:            The time is
 21                    10:01 and we are back on the record.
 22                    Q.    Mr. Glogovsky, you should have a
 23             document in front of you that's titled "Ad
 24             Leadership Update-March 4."               Do you see that?
 25                    A.    Yes.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   Do you recognize this document?
  3                    A.   Yes.
  4                    Q.   What is it?
  5                    A.   It is an update for our ad
  6             leadership team dated March 4th which we
  7             regularly produce in general practice.
  8                    Q.   So these, are these documents
  9             created in the normal course of The New York
 10             Times business?
 11                    A.   In the normal course, yes.
 12                    Q.   Do you participate in -- well, I
 13             guess I should ask, is this a presentation
 14             that's delivered?
 15                    A.   Can be a presentation.            It also
 16             does not always lead to a presentation.
 17                    Q.   Do you participate in drafting
 18             these kind of decks?
 19                    A.   Generally, yes.
 20                    Q.   Do you remember if you participated
 21             in drafting this deck?
 22                    A.   I --
 23                    Q.   It's -- if you don't know, it's a
 24             while ago.
 25                    A.   I don't know specifically for this

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             one.
  3                    Q.   It's such like a weird feeling to
  4             be like I'm being shown documents from years
  5             ago and someone wants me to say if I wrote
  6             it.    Like, it's okay.         Okay.
  7                         Let's take a look at page 3, which
  8             is Bates stamped with the end Bates 0006.           Do
  9             you see that?
 10                    A.   Yes, yes.
 11                    Q.   What is this chart showing?
 12                    A.   This chart is an update of our
 13             revenue position as of the time of this deck
 14             was created, broken out at this time by the
 15             product categorizations that we have within
 16             the ad department.
 17                    Q.   At the top there is three blue
 18             lines that say, "Total Advertising, Print"
 19             and "Digital."       Do you see that?
 20                    A.   I do.
 21                    Q.   Are print and digital the primary
 22             categories of ads available on New York
 23             Times' properties?
 24                    A.   At the time of this document's
 25             creation, yes, those were the two primary

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   What falls into the digital and
  3             custom category?
  4                    A.   Products that fall within the
  5             digital and custom is the digital display,
  6             programmatic, video, e-mail, podcasts,
  7             branded content which is produced by T-Brand.
  8                    Q.   Does The New York Times, I think
  9             you said that these kind of updates are given
 10             periodically; is that right?
 11                    A.   Yes, periodically.
 12                    Q.   Do your periodical periodic
 13             reportings of ad revenue always encompass
 14             both print and digital?
 15                         MR. BLAISDELL:           Object to the form.
 16                    A.   When we are providing a holistic
 17             view of the advertising department's revenue
 18             and business, we do typically provide both
 19             digital and print in those updates.
 20                    Q.   Okay.     Let's focus on digital.
 21                         Based on this chart -- well, let's
 22             say this, under the "Digital" line item there
 23             are a bunch of different rows starting with
 24             "Display."    Do you see that?
 25                    A.   I do.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   Okay.     The first line says,
  3             "Display Total," and then under that there's
  4             a line that says, "Direct Banners & PG."           Do
  5             you see where I am on the chart?
  6                    A.   I do.
  7                    Q.   What are direct banners and PG,
  8             what is that category?
  9                    A.   Direct banners and PG are the
 10             display ads on, running on The New York
 11             Times' properties that are directly sold to
 12             our advertisers through a typical insertion
 13             order and have not been procured in a
 14             nonguaranteed manner.
 15                    Q.   What's the difference, is there a
 16             difference between direct banner and PG?
 17                         MR. VERNON:         Objection, leading.
 18                    A.   We have classified direct banner
 19             and PG under the same, because that has a
 20             direct relationship with either the
 21             advertiser and/or agency, and we have grouped
 22             them together for that purpose.
 23                    Q.   What does "PG" stand for?
 24                    A.   PG stands for programmatic
 25             guarantee.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   And what is programmatic guarantee?
  3                    A.   Programmatic guarantee is the
  4             technology provided by a number of ad
  5             technology companies to allow agencies to
  6             directly sell ads through a virtual or
  7             digital insertion order into the publisher
  8             and The New York Times ad server and buying
  9             products that are similar to the direct
 10             business and typically, or actually always
 11             have a guaranteed contractual value and
 12             impressions.
 13                    Q.   You said that direct banners and PG
 14             run across The New York Times' properties.
 15             What properties are you referring to?
 16                    A.   The digital banners that are
 17             directly sold typically run on the
 18             NewYorkTimes.com and their associated apps
 19             and web views, and they also include,
 20             oftentimes, our other properties such as
 21             cooking or games, depending on the available
 22             ad experience at the time of this document,
 23             and sends them.
 24                    Q.   Do they run for cooking and games,
 25             do they run also on the cooking games apps?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.   It's a nuanced answer.          Typically
  3             we do try and deliver ads across all of the
  4             available surfaces and properties of The New
  5             York Times, but not all of the surfaces are
  6             exactly the same or have the same ad
  7             experience.    So there may be surfaces of a
  8             specific game or cooking, or what have you,
  9             that may not have an ad experience or
 10             equivalent to what we have on The New York
 11             Times' property.
 12                    Q.   What about The New York Times' app,
 13             like the news app, does that include direct
 14             banner and PG?
 15                    A.   The New York Times' app does
 16             include direct banners and PG.
 17                    Q.   Does New York Times have the
 18             flexibility to change the volume of ads it
 19             serves on NewYorkTimes.com versus The New
 20             York Times' apps?
 21                         MR. VERNON:      Objection, leading.
 22                         MR. BLAISDELL:        Object to form.
 23                    A.   The New York Times does have the
 24             capability of adjusting the ad experience and
 25             the quantity or density of ads in any of our

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             from The New York Times' website on to the
  3             app.
  4                         So the question I asked is:        If
  5             display ads on The New York Times became
  6             prohibitively expensive, could The New York
  7             Times start serving the display ads that were
  8             on the website on its app?
  9                         MR. VERNON:      Same objections.
 10                         MR. BLAISDELL:        Object to the form.
 11                    A.   It is a difficult answer or
 12             question to answer.       Our -- we take great
 13             pride in both approaches on how many ads we
 14             serve in any of our properties, and we want
 15             to make sure that it's not disruptive, and
 16             also the cost implications would not be a
 17             reason why, exclusive reason why we would
 18             make a change such as that.
 19                    Q.   Are there other reasons you might
 20             shift available ad space from the web to the
 21             apps?
 22                         MR. VERNON:      Objection, leading.
 23                         MR. BLAISDELL:        Object to the form.
 24                    A.   For ads specifically, there would
 25             be not many reasons why it should do that.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             Obviously if apps ads performed better, and
  3             we wanted to move in that direction for our
  4             advertisers and demand in the market shifted,
  5             those would be reasons that we would
  6             consider, but not determine completely if we
  7             would make that change or not.
  8                    Q.   Are there other reasons you would
  9             consider making the change?
 10                    A.   Not that I'm aware of.
 11                    Q.   The second row in this document,
 12             right under where we were before, it says,
 13             "Programmatic-Open/PMP."          What is that
 14             category describing?
 15                    A.   That category is describing the
 16             open auction and PMP revenue that we earn
 17             from a number of our ad tech providers, SSPs
 18             and this is a total of that revenue during
 19             this period of time.
 20                    Q.   What does "PMP" stand for?
 21                    A.   PMP or private marketplace deal is
 22             another way of describing it.               It is where a
 23             publisher such as New York Times would work
 24             with the SSP and/or DSP, an advertiser, to
 25             set up a direct link in the SSP and DSP to

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             run on The New York Times.
  3                    Q.   How is that different from an open
  4             auction?
  5                         MR. VERNON:      Objection, leading.
  6                    Q.   Is that different from an open
  7             auction?
  8                         MR. VERNON:      Same objection.
  9                    A.   It is different from open auction
 10             as, it is open auction, we do not have direct
 11             relationships with that specific advertiser
 12             or potentially the DSP itself.
 13                    Q.   Do you know how much of this open
 14             slash PMP category is revenue derived from
 15             PMP?
 16                         MR. BLAISDELL:        Object to the form.
 17                    A.   I do not recall the share PMP made
 18             up of this number on this document at the
 19             time it was created.
 20                    Q.   Do you have a general sense, like
 21             was it less than 50 percent or more than
 22             50 percent?
 23                    A.   Generally speaking, PMPs make a
 24



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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                     Q.       Is that true today?
  3                     A.       That trend is generally accurate
  4             today.
  5                     Q.       When you say "That trend," what are
  6             you referring to?
  7                     A.       That PMP revenue is




 10                     Q.       Is it like a


 12                              MR. VERNON:      Object to the form.
 13                     A.       I do not recall the exact number.
 14             I do know that it is                                    for
 15             sure.
 16                   Q.         Do you know if it's above
                             ?
 18                              MR. BLAISDELL:        Object to the form.
 19                   A.         It's a difficult question to
 20             answer, because it does vary day by day, or
 21             even by week, or even quarter, and does
 22             oftentimes depend on the seasonality effect
 23             of when it's most in demand.
 24                   Q.         Why are open auction and PMP
 25             grouped together?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.   Open auction and PMP are grouped
  3             together for the purpose because they're
  4             nonguaranteed.    There is no contractual
  5             obligations that guarantee impressions or
  6             revenue between The New York Times or the SSP
  7             or the advertiser itself.
  8                    Q.   What was the revenue in 2019 for
  9             this category?
 10                         MR. BLAISDELL:        Object to the form.
 11                         MR. VERNON:      Also vague.
 12                    Q.   Well, I'm looking at the -- I'm
 13             looking at the chart we're on the line that
 14             says, "Programmatic-Open/PMP" and I think
 15             there is at least an estimated revenue from
 16             2019 on here.    Am I reading that correctly?
 17                    A.   The estimate revenue for 2019 was
 18             for Q1 of 2019 and the number here was
 19             $9.8 million.
 20                    Q.   On this chart do you agree with me
 21             that that's less than half of the Q1 2019
 22             revenue listed for direct banner and PG
 23             display?
 24                    A.   I do agree with you that it's less
 25             than half.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   Is that common?
  3                    A.   Generally speaking, our direct
  4             business creates the larger share of our
  5             direct business.
  6                    Q.   I think you said our direct
  7             business creates the larger share of our
  8             direct business, do you mean generally
  9             speaking our direct business creates the
 10             larger share of our display business?
 11                    A.   Yes.    Thank you for the
 12             clarification.
 13                    Q.   It's okay.
 14                         There is another category on
 15             here -- well, I guess I should say before we
 16             move on from that, are open/PMP display ads
 17             available on the web and on the app?
 18                    A.   As of today, yes, we do have open
 19             auction and PMP on web and our apps.
 20                    Q.   There's a category below this that
 21             says "Other Display," what are the other,
 22             what are the things that fall into the "Other
 23             Display" category?
 24                    A.   Typically our finance team who
 25             leads the preparation of this specific chart

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             use "Other Display" as a revenue line for
  3             deferrals and recon or any adjustments that
  4             may happen within the accounting process.
  5                    Q.   So am I right in understanding that
  6             "Other Display" does not refer to a different
  7             channel through which display ads can be
  8             sold; it's like an accounting category?
  9                         MR. VERNON:         Objection, vague.
 10                    A.   You would be correct, that it is
 11             not another channel for display ads on our
 12             properties, and it is for accounting
 13             purposes, generally.
 14                    Q.   How does The New York Times decide
 15             through --
 16                         MS. MORGAN:         Well, let me ask a
 17                    different question.
 18                    Q.   Does The New York Times make a
 19             decision about which sales channels it's
 20             going to use to sell display ads?
 21                         MR. BLAISDELL:           Object to the form.
 22                    A.   Can you clarify the question?
 23                    Q.   Yeah.
 24                         Does The New York Times decide how
 25             much of its sales inventory it wants to sell

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             in Category 1, direct banner and PG versus
  3             Category 2 open/PMP?
  4                    A.   We do not have stipulations, but it
  5             is our strategic endeavor to focus on our
  6             direct banners and PG with direct
  7             relationships with advertisers and agencies.
  8                    Q.   Does The New York Times decide how
  9             much of its display ad space it wants to sell
 10             through PMP versus open auction?
 11                         MR. BLAISDELL:          Object to the form.
 12                    A.   We have ambitions for PMPs to grow,
 13             because it does have a higher level of
 14             certainty that it is coming from a advertiser
 15             or agency that is known and it typically
 16             trades at a higher CPM.
 17                    Q.   When you say "it typically trades
 18             at a higher CPM," do you mean a higher CPM
 19             than open auction?
 20                    A.   Yes.    PMPs typically trade at a
 21             higher CPM than open auction.
 22                    Q.   So is it your -- let me see, you
 23             said it's your ambition to focus on direct
 24             first; is that right?
 25                         MR. BLAISDELL:          Object to form.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MR. VERNON:      Objection,
  3                    mischaracterizes.       Also leading.
  4                    Q.   You can answer.
  5                    A.   It is a strategic priority for us
  6             to focus on the direct relationships with
  7             advertisers and agencies, and the direct
  8             display banners and PG would be our priority,
  9             yes.
 10                    Q.   Is it a strategic priority for The
 11             New York Times to focus on PMP sales over
 12             open auction sales?
 13                         MR. VERNON:      Objection, leading.
 14                    A.   I would not say that it is a
 15             strategic priority for the ad department, as
 16             a whole, that PMPs are larger or more
 17             profitable -- or, I'm sorry -- more revenue
 18             than open auction.
 19                    Q.   Today are the majority of the
 20             display ads The New York Times serves sold
 21             through direct sales or programmatic
 22             guarantee sales?
 23                    A.   Can you clarify if you mean
 24             impressions?   I just want to make sure I
 25             heard you correctly.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   Yeah, impressions.
  3                    A.




  6                    Q.   Does most of The New York Times
  7             revenue on display ads come from direct
  8             sales?
  9                    A.                                   comes from
 10             direct sales.
 11                   Q.    I guess I should say direct sales
 12             and programmatic guarantee.
 13                         Do you know what the division of
 14             revenue is between direct sales and
 15             programmatic guarantee, how do those two
 16             compare?
 17                         MR. BLAISDELL:        Object to the form.
 18                   A.    I do not recall a specific share.
 19                   Q.    Do you have like a rough sense?
 20                   A.                             .
 21                   Q.
 22                   A.                                       .
 23                         MS. MORGAN:      I think this is a good
 24                   time for us to take a ten-minute break,
 25                   if everybody's amenable to that.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   Okay.     So before we went on the
  3             break, we were looking at this document, and
  4             we were on the page, which I am realizing now
  5             I never marked, I guess.
  6                         MS. MORGAN:         Let's mark this as
  7                    Glogovsky Exhibit 1.
  8                         (Discussion off the record.)
  9                    Q.   So I'm on the same document.         I'm
 10             on the same chart.         I want to look at the
 11             lines that are below the display lines we
 12             just talked about.         There's, like, I don't
 13             know, ten or so things there starting with
 14             "Video" and ending with "Wirecutter."
 15                         Do you see where I am?
 16                    A.   I do.
 17                    Q.   For purposes of this chart, are all
 18             of these categories part of the digital
 19             revenue line?
 20                    A.   For the purposes of this chart,
 21             yes, they are all part of the digital revenue
 22             line.
 23                    Q.   The first line is "Video."         What is
 24             that referring to?
 25                    A.   Video is the pre-roll and mid-roll

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MR. BLAISDELL:          Object to the form.
  3                    A.   At the time of this chart open
  4             auction and PMP would only include display
  5             and video ads.
  6                    Q.   Do New York Times advertisers that
  7             do programmatic buying buy both video and
  8             display ads?
  9                         MR. VERNON:        Objection, leading.
 10                    A.   I do not know.
 11                    Q.   Do you have any reason to think
 12             that they do not?
 13                    A.   I do not have any reason to believe
 14             that they would not buy both display and
 15             video.
 16                         MR. VERNON:        Hold on a second.
 17                    Objection, foundation to the last
 18                    question and answer.
 19                    Q.   Are the video ads that fall into
 20             the programmatic category served on the web?
 21                    A.   Yes.
 22                    Q.   Are they also served in New York
 23             Times' apps?
 24                    A.   Yes.
 25                    Q.   So the "Video" line below that,

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             that actually says "Video," are those ads
  3             served both on the web and in the app?
  4                    A.   Yes.
  5                    Q.   The line below that says, "E-mail."
  6             What is that referring to?
  7                    A.   At the time of this document in the
  8             period the revenue is reporting, it would be
  9             inclusive of the programmatic and direct sole
 10             display ads within our newsletters or
 11             e-mails.
 12                    Q.   Are e-mail ads, what do e-mail ads
 13             look like?
 14                         MR. BLAISDELL:          Object to the form.
 15                    A.   E-mail ads are very similar, at the
 16             time of this document preparation and when
 17             ads were serving, very similar to display
 18             banner ads that you would see within web and
 19             app environments.
 20                    Q.   To the extent e-mail ads are sold
 21             programmatically, are they sold through the
 22             same process as programmatic sales for
 23             display banner ads?
 24                         MR. VERNON:        Objection, leading and
 25                    vague.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.   Can you please clarify the
  3             question?
  4                    Q.   Yes.
  5                         Do you use the same ad tech tools
  6             to programmatically sell e-mail ads that you
  7             use to sell display ads?
  8                         MR. VERNON:        Objection, same
  9                    objections.
 10                    A.   For e-mail or newsletter
 11             programmatic, we use different ad technology
 12             to fulfill the space available within
 13             newsletters.
 14                    Q.   What technology do you use to fill
 15             the space available in newsletters?
 16                    A.   The primary technology that we use
 17             to serve programmatic within our newsletters
 18             would be LiveIntent.
 19                    Q.   What's LiveIntent?
 20                    A.   LiveIntent is a newsletter based ad
 21             tech company that helps publishers enable
 22             monetization within their newsletters, both
 23             directly as an ad server and through
 24             monetization purposes filling
 25             programmatically.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             type you're specifying?
  3                    Q.   Yeah.     If advertisers want to use,
  4             want to programmatically buy display ads and
  5             they also want to programmatically buy e-mail
  6             ads, is it possible for them to shift their
  7             spend from display to e-mail if they find
  8             that e-mail is more useful for their
  9             purposes?
 10                         MR. VERNON:         Objection, leading.
 11                         MR. BLAISDELL:           Object to the form.
 12                    A.   From our standpoint and where we
 13             are positioned in the buyer workflow, we do
 14             not have that insight of how easy or
 15             impossible or possible that would be.             We
 16             have two different technologies running --
 17             sorry -- a separate technology running for
 18             newsletters, which would make it difficult
 19             for us to have any influence over that.
 20                    Q.   The line below "E-mail" says
 21             "Classified," what is that describing?
 22                    A.   Classified is our, is typically our
 23             print classifieds.         This was our digital
 24             classifieds, which we were running at the
 25             time of this creation of this document.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   Are they sold directly?
  3                    A.   Wirecutter, although the revenue
  4             sits on this line item, is not sold and
  5             managed primarily by the advertising
  6             business, that would be represented in this
  7             grid or chart.    The revenue primarily comes
  8             from, my understanding, programmatic open and
  9             PMP, and makes up a small share of this
 10             chart.
 11                    Q.   Before we move off this chart, we
 12             talked about the video that served program --
 13             or that purchased programmatically falls into
 14             the "Programmatic-Open/PMP" category.          Are
 15             e-mail ads, are e-mail ads also sold
 16             programmatically?
 17                    A.   E-mail ads are sold
 18             programmatically as well as direct, yes.
 19                    Q.   Do they also fall into this
 20             "Programmatic-Open/PMP" --
 21                         MS. MORGAN:      Let me rephrase.
 22                    Q.   Do the programmatic sales of e-mail
 23             ads also fall into the
 24             "Programmatic-Open/PMP" category that
 25             includes display ads and video ads?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.   At this time of this document,
  3             programmatic, open auction and PMP revenue
  4             related to newsletters and e-mail would be
  5             within the e-mail line in the chart and
  6             referencing the document it makes that clear.
  7                    Q.   If you go to -- well, really
  8             quickly, are you familiar with native ads?
  9                    A.   I am.
 10                    Q.   What are native ads?
 11                    A.   Native ads are ads that are
 12             intended to look and feel like the publisher,
 13             in this case The New York Times' content.
 14                    Q.   Does The New York Times sell native
 15             ads or native ad space?
 16                    A.   There have been a number of
 17             experiments and explorations into native ads.
 18             We consider our T-Brand content, since it is
 19             an ad itself and does look and feel like The
 20             New York Times domain would be one
 21             consideration as a native ad.                  We do also
 22             sell our Flex Frames that are meant to feel
 23             and look like The New York Times' content.
 24             So, yes, we do.
 25                    Q.   Are Flex Frames display ads?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.   Flex Frames would be considered
  3             display ads.
  4                    Q.   So where do native ads fall on this
  5             chart?
  6                    A.   We do not have a line item within
  7             this chart that explicitly calls out native
  8             directly.
  9                    Q.   So would native ads fall into the
 10             display category?
 11                         MR. BLAISDELL:        Object to form.
 12                         MR. VERNON:      Object, objection,
 13                    form.
 14                    A.   They would fall within the display
 15             category is how we have personally classified
 16             them.
 17                    Q.   Are native ads sold directly?
 18                    A.   Flex Frames, our ad format that is
 19             unique to The New York Times and considered
 20             native would be sold directly.
 21                    Q.   Are native ads sold
 22             programmatically?
 23                    A.   We have experimented with native
 24             ads and on select surfaces and times we have
 25             turned on native ads programmatically.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         Does The New York Times use Google
  3             ad tech tools?
  4                    A.   Yes.
  5                    Q.   Which Google ad tech tools does The
  6             New York Times use?
  7                    A.   New York Times advertising
  8             department uses Google Ad Manager as their
  9             primary Google ad tech tool.
 10                    Q.   What do you use Google Ad Manager
 11             for?
 12                    A.   Google Ad Manager's primary purpose
 13             is our ad server for direct digital
 14             advertising, which would be inclusive of
 15             display ads, native ads and video.            We also
 16             use Google Ad Manager as our primary
 17             monetization platform to serve programmatic
 18             ads to our supply.
 19                    Q.   Does New York Times use Google Ad
 20             Manager to operate Flex Frames?
 21                    A.   Google Ad Manager is the ad server
 22             that we use to deliver and serve our Flex
 23             Frame ad business.
 24                    Q.   And I think you said this earlier,
 25             but is Flex Frames sold directly?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.   Flex Frames are sold directly both
  3             direct and PG, which would be in the line
  4             from the subsequent document.
  5                    Q.   Do you use any other Google
  6             sell-side tools?
  7                         MR. BLAISDELL:           Object to the form.
  8                    Q.   Besides Google Ad Manager?
  9                    A.   Not that I'm aware of.             Google ad
 10             manager is our primary sell-side platform.
 11                    Q.   Does The New York Times advertise
 12             itself using Google buy-side tools?
 13                         MR. BLAISDELL:           Object to the form.
 14                    A.   To my knowledge, we have used, at
 15             least in the past, Google's buy-side platform
 16             to deliver ads, marketing The New York Times.
 17                    Q.   Do you know which buy-side
 18             platform?
 19                         MR. BLAISDELL:           Objection to form
 20                    and scope.
 21                    Q.   Are you aware that there are
 22             multiple Google buy-side platforms?
 23                         MR. BLAISDELL:           Same objections.
 24                    A.   The buy-side platform that I am
 25             aware of using would be -- what is it called

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             -- the primary DSP that Google offers the
  3             market.     I apologize for not recalling the
  4             specific name.
  5                    Q.    Is that outside the scope of your
  6             job?
  7                    A.    That is outside of the scope of my
  8             job.
  9                    Q.    Has there ever been a time during
 10             your career at The New York Times when The
 11             New York Times was not using Google ad tech
 12             tools?
 13                    A.    Can you repeat the question?
 14                    Q.    Yes.
 15                          Has there ever been a time during
 16             your career at The New York Times when The
 17             New York Times was not using Google ad tech
 18             tools?
 19                    A.    During my career --
 20                    Q.    During your time at The New York
 21             Times.
 22                    A.    During my time or career at The New
 23             York Times we have been on Google ad
 24             technology.
 25                    Q.    Are you familiar with ads.txt or

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             authorized digital seller text files?
  3                    A.   Yes.
  4                    Q.   What is that?
  5                    A.   Ads.txt is an industry initiative
  6             that publishers publicly disclose the SSPs or
  7             programmatic partners that they worked with,
  8             with a public file on the domain that would
  9             be followed by their primary domain with
 10             ads.txt at the end of it.
 11                    Q.   Why does it exist, to your
 12             knowledge?
 13                         MR. BLAISDELL:          Object to the form.
 14                         MR. VERNON:        Objection, foundation.
 15                    A.   Ads.txt, to my knowledge, was an
 16             industry initiative to help reduce the amount
 17             of ad fraud domain spoofing and to better
 18             declare who publishers are working with so
 19             that was recognized.
 20                    Q.   Does The New York Times use ads.txt
 21             or does it maintain an ads.txt page?
 22                    A.   Yes.
 23                         MR. BLAISDELL:          Object to form.
 24                         MS. MORGAN:        I'm going to show you
 25                    another document, which I am going to

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    mark as Glogovsky Exhibit 2.
  3                         (NYT Exhibit 2, Document entitled,
  4                    "Nytimes.com/ad.txt," marked for
  5                    identification, this date.)
  6                         MS. MORGAN:         See if we can get it
  7                    to work.   It's a small one.            Oh, good, I
  8                    have it.   Okay.       If you reload the
  9                    document, it should be in there and it's
 10                    just marked Exhibit 2.
 11                    Q.   Do you see that?
 12                    A.   I do.
 13                    Q.   Okay, great.
 14                         Do you know what this document is?
 15                    A.   It appears to be our ads.txt file.
 16                    Q.   Do you have any reason to question
 17             whether this is an accurate version of the
 18             ads.txt file?
 19                         MR. BLAISDELL:           Object to the form.
 20                    A.   I do not have any reason to believe
 21             that it's not an accurate representation
 22             based on the time.
 23                    Q.   Is the ads.txt file maintained in
 24             the course of The New York Times' ordinary
 25             business?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MR. VERNON:      Counsel, for the
  3                    purposes of the record, can you explain
  4                    or make a representation as to where
  5                    this comes from?      Like, did you pull it
  6                    from the website or kind of where it is?
  7                         MS. MORGAN:      It comes from the
  8                    website that is listed at the top of the
  9                    page New York Times, slash, ads.txt.
 10                    The URL is printed up there and it was
 11                    printed two days ago at 11:30 a.m.,
 12                    11:36.
 13                         MR. VERNON:      Thank you.
 14                         MS. MORGAN:      I can just ask my
 15                    question again.
 16                    Q.   Is The New York Times ads.txt file
 17             created and maintained in the normal course
 18             of business?
 19                    A.   It is our general practice to
 20             maintain it over the course of regular
 21             business.
 22                    Q.   Are the entities that are listed on
 23             this page a list of digital sellers that are
 24             permitted to sell New York Times ad
 25             inventory?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.   Yes, the names on this list are the
  3             ad technology that are permitted to sell on
  4             our site.
  5                    Q.   The first item on the list says,
  6             "Amazon-adsystem.com."
  7                         What is that referring to?
  8                    A.   Amazon-adsystem.com is the Amazon
  9             programmatic technology that is made
 10             available to publishers and often goes by
 11             Amazon Publisher Services.
 12                    Q.   Are you familiar with header
 13             bidding?
 14                    A.   I am.
 15                    Q.   What is it?
 16                    A.   Header bidding is an alternative
 17             that publishers, inclusive of The New York
 18             Times, uses to create demand.                  It is a
 19             wrapper that goes into the file of the site,
 20             and allows programmatic partners to place
 21             bids and compete and then puts that bid into
 22             the ad call and eventually is potentially
 23             selected to serve on the website.
 24                    Q.   Does Amazon Publisher Services
 25             place ads on New York Times' properties?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MR. VERNON:       Objection, leading and
  3                    vague.
  4                         MR. BLAISDELL:         Object to the form.
  5                    A.   Amazon-adsystems or APS does place
  6             ads.
  7                    Q.   Does it do that via header bidding?
  8                    A.   It is difficult answer to -- or
  9             question to answer.        It does include header
 10             bidding, but may not be limited to header
 11             bidding.
 12                    Q.   What kind of inventory does Amazon
 13             put on The New York Times' properties?
 14                         MR. BLAISDELL:         Object to the form.
 15                    A.   It is predominantly display media.
 16                    Q.   Does it also put on any other types
 17             of ad inventory besides display?
 18                         MR. BLAISDELL:         Object to the form.
 19                    A.   In how we classify the ads coming
 20             through programmatic, we would classify them
 21             as display.     There may have been experiments
 22             into other formats, but display is the vast
 23             majority of what is placed.
 24                    Q.   When you say how we classify it, do
 25             you mean to include programmatically sold

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             video ads?
  3                    A.   What I was referencing is display
  4             or native.
  5                    Q.   Does Amazon place video ads on New
  6             York Times' properties?
  7                    A.   I don't have any evidence to
  8             suggest that they do not.
  9                    Q.   Okay.     The next entry is
 10             "AppNexus.com," what is that?
 11                    A.   AppNexus is another ad technology
 12             company now goes by the name of Xandr, which
 13             was recently, relatively recently purchased
 14             by another technology firm that places ads on
 15             The New York Times.
 16                    Q.   What technology firm purchased
 17             Xandr?
 18                         MR. BLAISDELL:           Object to the form
 19                    and scope.
 20                    A.   From my recollection, Microsoft.
 21                    Q.   Does Xandr sell The New York Times
 22             digital inventory?
 23                    A.   Xandr is one of the SSPs that has
 24             the capability of selling The New York Times'
 25             inventory.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   I guess I should ask you this as an
  3             easier question:      Are all of the entities
  4             listed on the ads.txt page entities that The
  5             New York Times allows to sell its digital
  6             inventory?
  7                         MR. BLAISDELL:         Object to form.
  8                         MR. VERNON:       Objection to form.
  9                    A.   The ad technology companies within
 10             this ad.txt file do have the authorization of
 11             selling The New York Times' supply, yes.
 12                    Q.   Do they do that programmatically?
 13                         MR. VERNON:       Objection to form.
 14                         MR. BLAISDELL:         Object to form.
 15                    A.   These file -- this file or these
 16             partners would be selling programmatically.
 17                    Q.   I will give you a second to look at
 18             the list, but are any of the entities listed
 19             here also selling New York Times' digital
 20             inventory directly?
 21                    A.   Can you clarify selling as in
 22             sourcing demand or can you just clarify that
 23             statement?
 24                    Q.   Do they facilitate direct sales?
 25             How about that?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.   Thank you.
  3                         These are exclusively programmatic
  4             relationships and do not source direct deals.
  5                    Q.   Does Xandr place ads on The New
  6             York Times' properties via header bidding?
  7                    A.   Yes.
  8                    Q.   What kind of inventory does Xandr
  9             place on The New York Times' properties?
 10                         MR. BLAISDELL:          Object to the form.
 11                    A.   Display ads.
 12                    Q.   Does Xandr also place video ads on
 13             New York Times' properties?
 14                    A.   There is -- they do have the
 15             capability of placing video ads, but it would
 16             be a very small share of the overall.
 17                    Q.   What about native ads?
 18                         MR. BLAISDELL:          Object to the form.
 19                    A.   Not to my knowledge.
 20                    Q.   We can skip over Google because we
 21             already talked about that.             Although is there
 22             a reason that there are two entries for
 23             Google, to your knowledge?
 24                         MR. BLAISDELL:          Object to the form.
 25                    A.   I do not recall the exact reasons

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             off the top of my head why we have two
  3             entries for Google.
  4                    Q.   The entity below that says,
  5             "IndexExchange.com."         What is that referring
  6             to?
  7                    A.   Index Exchange or IX is another ad,
  8             ad tech provider for SSPs, or is an SSP.
  9                    Q.   Does Index Exchange place ads or
 10             does Index Exchange sell The New York Times'
 11             ad inventory?
 12                    A.   Yes.
 13                    Q.   Does it place ads on New York
 14             Times' properties via header bidding?
 15                    A.   Yes.
 16                    Q.   What kind of inventory does it
 17             place on New York Times' properties?
 18                    A.   Primarily display ads and a very
 19             small amount of video ads would be
 20             potentially possible as well.
 21                    Q.   What about native ads?
 22                    A.   Not to my knowledge.
 23                    Q.   Below Index Exchange is
 24             "LiveIntent.com."        What's that referring to?
 25                    A.   LiveIntent is our newsletter

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             programmatic monetization platform and also
  3             our newsletter ad server.
  4                    Q.   Does LiveIntent sell New York
  5             Times' ad inventory?
  6                    A.   Yes.
  7                    Q.   What kind of ad inventory does it
  8             sell?
  9                    A.   Newsletter display ads.
 10                    Q.   Any other types of ads?
 11                    A.   No.
 12                    Q.   Do the display ads that it sells
 13             for newsletters also appear on the web?
 14                         MR. VERNON:         Objection, vague.
 15                    A.   No.
 16                    Q.   You testified earlier that
 17             Wirecutter is both a newsletter and it has a
 18             website.    Do you remember that?
 19                    A.   I do.
 20                    Q.   Does LiveIntent serve ads on
 21             Wirecutter?
 22                    A.   No.
 23                    Q.   Does it serve any ads that appear
 24             on a website?
 25                    A.   No, they are exclusively our

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             newsletter monetization partner.
  3                    Q.   How are the newsletters delivered?
  4                         MR. BLAISDELL:          Object to the form.
  5                    A.   Can you clarify, to the end user or
  6             the technology?
  7                    Q.   To the end user, are they delivered
  8             over e-mail or some other way?
  9                    A.   Yes, over e-mail.
 10                    Q.   Does LiveIntent use header bidding
 11             to place ads on The New York Times'
 12             properties?
 13                    A.   No.
 14                    Q.   The line below that says,
 15             "openx.com."      What's the -- several lines
 16             below that, what is that referring to?
 17                    A.   OpenX is another SSP technology
 18             partner that we use.         The subsequent line
 19             items for each of these are the separate
 20             integrations that we have for header bidding
 21             and open bidding.
 22                    Q.   Does OpenX then place ads on The
 23             New York Times' properties via header
 24             bidding?
 25                    A.   Yes, that is one of the paths.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   And does it also place ads on The
  3             New York Times' properties using open
  4             auction -- sorry -- open bidding?
  5                    A.   Thank you for clarifying.          Yes, it
  6             does place ads through both header bidding
  7             and open bidding.
  8                    Q.   What kind of ad inventory does it
  9             place on New York Times' properties?
 10                    A.   Predominantly display media with
 11             the possibility of a small amount of video.
 12                    Q.   What about native?
 13                    A.   Not that I recall.
 14                    Q.   The line below "Openx," says,
 15             "rubiconproject.com."          Do you see that?
 16                    A.   Yes.
 17                    Q.   What is that referring to?
 18                    A.   Rubicon is another ad technology
 19             SSP that we partner with.            I believe it's now
 20             called Magnite after a rebrand.
 21                    Q.   Does Magnite -- I'm just going to
 22             call it Magnite -- does Magnite, does The New
 23             York Times use Magnite technology to sell its
 24             ad inventory?
 25                    A.   Can you clarify "use Magnite

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             technology"?
  3                    Q.   I can ask the question in a
  4             different way.
  5                         Does Magnite place ads on The New
  6             York Times' properties?
  7                    A.   Rubicon does place ads on The New
  8             York Times' properties.
  9                    Q.   Does Rubicon or Magnite place ads
 10             on The New York Times' properties via header
 11             bidding?
 12                    A.   Yes.
 13                         MR. BLAISDELL:           Object to the form.
 14                    Q.   What kind of ad inventory does it
 15             place on The New York Times' properties?
 16                         MR. BLAISDELL:           Object to the form.
 17                    A.   Magnite predominantly fills or
 18             sells our inventory as display banners, with
 19             a small minority share potentially going to
 20             video.
 21                    Q.   Below that is "triplelift.com."           Do
 22             you see that?      What is TripleLift?
 23                    A.   I do.     TripleLift is the ad
 24             technology SSP that we work with, that we
 25             work with, one of.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   Does TripleLift place ads on The
  3             New York Times' properties?
  4                    A.   Yes.
  5                    Q.   Does it do that via header bidding?
  6                    A.   Yes.
  7                    Q.   What kinds of inventory does
  8             TripleLift place on The New York Times'
  9             properties?
 10                         MR. BLAISDELL:           Object to the form.
 11                    A.   TripleLift provides two types of
 12             ads on The New York Times, predominantly
 13             display ads.    They have also in the past and
 14             currently deliver native ads as well.
 15                    Q.   Okay.     Below TripleLift is
 16             "pubmatic.com."       What is that referring to?
 17                    A.   PubMatic is a ad technology SSP
 18             that we partner with across a number of
 19             integrations.
 20                    Q.   Does The New York Times allow
 21             PubMatic to sell its ad inventory?
 22                    A.   Yes.
 23                    Q.   Does it do that via header bidding?
 24                    A.   Yes.
 25                    Q.   What kinds of ads does it place?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MR. BLAISDELL:          Object to the form.
  3                    A.   Predominantly display ads with the
  4             potential of a small minority share of video
  5             ads.
  6                    Q.   Below that is "media.net."          What is
  7             that referring to?
  8                    A.   Media.net is an ad technology SSP
  9             that we partner with.
 10                    Q.   Does media.net sell New York Times
 11             ad inventory?
 12                    A.   Yes.
 13                    Q.   Does it do so via header bidding?
 14                    A.   Yes.
 15                    Q.   What kind of ads does it place on
 16             The New York Times' properties?
 17                         MR. BLAISDELL:          Object to the form.
 18                    A.   Display.
 19                    Q.   Anything else?
 20                    A.   Not that I'm aware of.
 21                    Q.   Below that "is Yahoo.com."          What's
 22             Yahoo.com referring to?
 23                    A.   Yahoo.com is an ad technology SSP
 24             that we partner with.
 25                    Q.   Does Yahoo -- is there a specific

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             tool at Yahoo, is there a name for the tool
  3             that you use?
  4                    A.   Not that I'm aware of a specific
  5             name.    We have classified it internally as
  6             Yahoo.com.
  7                    Q.   Does Yahoo.com sell New York Times
  8             ad inventory?
  9                    A.   Yes.
 10                    Q.   Does it do so via header bidding?
 11                    A.   It would either header bidding or
 12             open bidding.      We have experimented with
 13             both.
 14                    Q.   Below Yahoo.com there are some
 15             additional entries, another Google.com,
 16             something call aps.amazon.com,
 17             IndexExchange.com.        Do you know why there are
 18             repeat entries for Google, Index Exchange,
 19             TripleLift, LiveIntent?
 20                    A.   Typically when there is a repeat
 21             entry, the name is repeated, the identifier
 22             is unique to it and based on a different
 23             integration, whether that be a different
 24             header bidding solution or open bidding.
 25                    Q.   What is aps.Amazon.com?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.   This is synonymous with
  3             Amazon-adsystems.com above, APS or
  4             aps.Amazon.com would be their solution for
  5             this specific integration.
  6                    Q.   Do these SSPs sell New York Times
  7             digital inventory on the web?
  8                         MR. BLAISDELL:          Object to form.
  9                         MR. VERNON:        Objection, vague and
 10                    compound.    Vague meaning --
 11                    Q.   Does The New York Times use the
 12             SSPs listed on this, I guess I should say the
 13             providers, does The New York Times use the
 14             providers listed on this ads.txt file to add
 15             inventory, to sell ad inventory on the web?
 16                         MR. VERNON:        Same objection.
 17                    A.   The list, the list is both
 18             comprehensive of the providers or SSPs
 19             selling on web, but it also includes partners
 20             or providers that do not sell on the web
 21             either.
 22                    Q.   Where do the people that do not
 23             sell on the web sell?
 24                         MR. BLAISDELL:          Object to the form.
 25                    A.   On this document, the two that

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   Anyone else that you can think of?
  3                    A.   I'm unaware.
  4                    Q.   Why does The New York Times have so
  5             many different platforms that sell its
  6             inventory?
  7                         MR. BLAISDELL:        Object to the form.
  8                         MR. VERNON:      Object to form.
  9                    Q.   Why does The New York Times have
 10             more than one platform that sells its
 11             inventory?
 12                    A.   The New York Times has experimented
 13             with a number of different platforms.          And
 14             based on those experiments and the results of
 15             those experiments, we have concluded that a
 16             number or more than one platform helps drive
 17             incremental revenue through competition.
 18                    Q.   When you say it drives revenue
 19             through competition, what kind of competition
 20             are you referring to?
 21                    A.   The competition that I'm referring
 22             to is exclusively the bid competition within
 23             the ad call and the number of competing bids,
 24             whether that be our direct business within
 25             the ad server or programmatic bids that have

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             been solicited.
  3                    Q.     Do the providers that are listed on
  4             the ads.txt file compete against each other
  5             to sell ad inventory?
  6                           MR. VERNON:        Objection, vague and
  7                    compound and leading.
  8                           MR. BLAISDELL:          Object to the form.
  9                           THE WITNESS:         Apologize to make
 10                    everyone do that.           Again, can you please
 11                    repeat the question?
 12                           MS. MORGAN:        Let's see that I can
 13                    ask a better question, although I don't
 14                    know that I can.
 15                    Q.     There are several providers listed
 16             on the ads.txt file that we just talked
 17             about.      Do you know who I'm referring to?
 18                           MR. BLAISDELL:          Object to form.
 19                    Q.     List of providers, do you know what
 20             I'm referring to?
 21                    A.     Yes.
 22                    Q.     Do the providers that are on that
 23             list compete against each other to sell New
 24             York Times' ad inventory?
 25                           MR. VERNON:        Objection, vague,

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    compound, leading.
  3                         MR. BLAISDELL:          Objection to form.
  4                    A.   It is our intention to have these
  5             providers in specific surfaces compete with
  6             our direct business to elicit higher CPMs and
  7             drive incremental revenue.
  8                    Q.   These are programmatic providers;
  9             is that right?
 10                         MR. BLAISDELL:          Object to the form.
 11                    A.   It's a nuanced answer.            They are
 12             primarily programmatic open auction and PMP
 13             providers; however, there are providers or
 14             provider that also provides programmatic
 15             guaranteed, which would be considered direct.
 16                    Q.   Does The New York Times make
                                  available via header bidding?
 18                         MR. BLAISDELL:          Object to the form.
 19                    A.   No.
 20                    Q.   What amount of
                            via header bidding?
 22                         MR. BLAISDELL:          Object to the form.
 23                   A.




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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.       Is there a


                            ?
  5                    A.




                                         .
 12                    Q.       What kind of factors do you
 13             consider in making that decision?
 14                    A.




                        .
 20                    Q.       When you say "operational," what do
 21             you mean?
 22                    A.




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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                                  .
  3                   Q.   We just talked about a list of SSPs
  4             or supply-side platforms.          Are you familiar
  5             with DSPs or demand-side platforms?
  6                   A.   I am familiar with DSPs.
  7                   Q.   What are they?
  8                   A.   Demand-side platforms is the
  9             technology in which agencies and/or
 10             advertisers or clients use to buy ads and
 11             place them across the web.
 12                   Q.   Does The New York Times work with
 13             multiple demand-side platforms?
 14                   A.   The New York Times, like other
 15             publishers, primary working relationships are
 16             with the SSPs, which typically have
 17             relationships with the DSPs.            There are a
 18             number of examples where we have talked to
 19             them, but do not have a working relationship
 20             with them on an ongoing basis.
 21                        MS. MORGAN:       I'm about to load
 22                   another big document, so maybe this a
 23                   good time to take a five-minute break
 24                   so, we can load the document.           Is
 25                   everybody okay with that?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MR. VERNON:         Fine with the break,
  3                    and I will try not to get kicked out
  4                    this time.
  5                         MS. MORGAN:         Okay.      Perfect.   We
  6                    can go off the record.
  7                         THE VIDEOGRAPHER:             Sorry.   I was
  8                    muted.
  9                         The time is 11:35.             We are going
 10                    off the record.        This will end media
 11                    unit number 2.
 12                         (A brief recess was taken.)
 13                         THE VIDEOGRAPHER:             The time is
 14                    11:43 a.m.     We are back on the record.
 15                    This will be the start of media unit
 16                    number 3.
 17                    Q.   Mr. Glogovsky, during the break and
 18             in an effort to save time, we loaded a
 19             document that I am going to mark as Glogovsky
 20             Exhibit 3.      It should be in your folder.             Can
 21             you let me know if you see it.
 22                         (NYT Exhibit 3, Document entitled,
 23                    "Index Exchange Bidder Test Results,"
 24                    Bates Nos. NYT_TXAG_00000108 through
 25                    NYT_TXAG_00000115, marked for

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                                                                        Page 104

  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    identification, this date.)
  3                         THE WITNESS:          Exhibit 3, I do.
  4                    Q.   Great.      Do you recognize this
  5             document?
  6                    A.   I do.
  7                    Q.   What is it?
  8                    A.   It is a recap of a test completed
  9             and accompanied with a recommendation around
 10             whether or not we should continue using a
 11             integration for a header bidder.
 12                    Q.   Is this something that was created
 13             in the normal course of business at The New
 14             York Times?
 15                    A.   Yes.
 16                    Q.   This document is titled, "Index
 17             Exchange Bidder Test Results."
 18                         You testified earlier that The New
 19             York Times has used Index Exchanges ad tech
 20             to sell digital ad inventory.                  Does The New
 21             York Times normally test the ad tech that it
 22             uses to sell digital ad inventory?
 23                         MS. MORGAN:         Sorry, Diana, did you
 24                    have a raised hand?           Are you unable to
 25                    see the exhibit?

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                                                                      Page 105

  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MR. VERNON:      I may take a minute.
  3                    I have an objection to this document.              I
  4                    think it has not been produced to us,
  5                    which may or may not be -- it may be our
  6                    fault but -- I don't know, but --
  7                         MS. MORGAN:      I think this is a
  8                    document that is from the Texas AG file.
  9                         MR. VERNON:      Yeah, I think it has
 10                    not been produced to us.             I'm not
 11                    100 percent sure.       Anyway, go ahead.
 12                         MS. MORGAN:      Okay.      Well, I think
 13                    we can iron that.
 14                         I'm sorry.     Did Diana have a
 15                    question that we need to address?              Okay.
 16                    I will return to my question then.
 17                    Q.   Does The New York Times regularly
 18             test the ad tech tools that it uses to sell
 19             digital ad inventory?
 20                         MR. BLAISDELL:        Object to the form.
 21                    A.   As general practice, we do review
 22             the ad technology platforms and partnerships
 23             and technology over the course of business.
 24                    Q.   Why does New York Times do that?
 25                    A.   It's for a number of factors.              One

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                                                                  Page 106

  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             of which is the tax or resources required to
  3             manage technology in the number of platforms
  4             and whether or not we are driving incremental
  5             revenue or not.
  6                    Q.   When you're talking about resources
  7             needed to manage the resources required to
  8             manage technology, are you referring to
  9             people?
 10                    A.   Yes.
 11                    Q.   Anything else?
 12                    A.   For resources specifically I am
 13             referring to people.
 14                    Q.   And when you talk about driving
 15             incremental revenue, what do you mean by
 16             that?
 17                    A.   It is our goal to work with a
 18             number of programmatic partners and
 19             technology to drive revenue that we would not
 20             have received without working with them
 21             specifically.
 22                    Q.   Do you know why Index Exchange was
 23             tested?
 24                         MR. BLAISDELL:          Object to the form.
 25                    A.   Index Exchange was tested as we

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             were working through to better understand how
  3             to improve our site performance and header
  4             bidding typically adds tax to the site
  5             performance and may slow down the page load
  6             for the end reader or user.
  7                    Q.   When you say site performance, what
  8             site are you referring to?
  9                    A.   I am specifically speaking to the
 10             NewYorkTimes.com.
 11                    Q.   Was the Index Exchange used on The
 12             New York Times app?
 13                         MR. BLAISDELL:        Object to the form.
 14                    A.   Not that I recall.          Index Exchange
 15             has been primarily a website and mobile web
 16             programmatic partner.
 17                    Q.   Did someone at The New York Times
 18             request that Index Exchange be tested?
 19                         MR. BLAISDELL:        Object to the form.
 20                    A.   I do not recall.
 21                    Q.   Who performed the test?
 22                         MR. BLAISDELL:        Object to the form.
 23                    A.   The test was done in collaboration
 24             with a number of partners.           The ads business
 25             was responsible for understanding the revenue

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                                                                   Page 108

  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             and financial impact and test of this nature.
  3             We also work with our technology partners and
  4             our data and insights group, which is
  5             responsible for helping us understand the
  6             results of the test.
  7                    Q.   Are all of the partners that you
  8             just referred to in-house at The New York
  9             Times?
 10                    A.   All of the partners that I referred
 11             to are all New York Times teams or
 12             individuals.
 13                    Q.   Did you use a vendor to help, like
 14             an outside vendor or party to help with the
 15             testing?
 16                         MR. BLAISDELL:           Object to the form.
 17                    A.   No, this was a test done completely
 18             within our means and resources.
 19                    Q.   Let's turn to the next page, which
 20             ends in 000109.       Do you see that?
 21                    A.   I do.
 22                    Q.   This section at the top is
 23             entitled, "Recommendation & Test Setup," and
 24             under "Recommendation," it says the
 25             following:    "It's our recommendation to

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                                                                  Page 109

  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             remove Index Exchange wrapper integration and
  3             migrate all Index demand open plus PMPs to
  4             Google's exchange building EBDA.            The test
  5             confirmed our hypothesis that Index
  6             Exchange's wrapper integration isn't
  7             providing incremental value and instead it's
  8             adding additional tech and operational burden
  9             to the organization.       Additionally, based on
 10             evidence, we do not believe there will be a
 11             revenue impact to the programmatic business."
 12                         What is "wrapper integration"?
 13                    A.   Wrapper integration would be
 14             synonymous with header bidder partner.            We --
 15             we would use them interchangeably.
 16                    Q.   What does it mean "to migrate all
 17             Index demand to Google's exchange bidding"?
 18                    A.   Before this test, Index was running
 19             within the Index wrapper or header bidder.
 20             We would shift that partner from that header
 21             bidder solution into the, at the time, Google
 22             exchange bidding which is now more commonly
 23             known as open bidding.
 24                    Q.   What does it mean to shift the
 25             partner from that solution to Google exchange

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             bidding, like what do you actually do?
  3                         MR. BLAISDELL:        Object to the form.
  4                    A.   We would take the appropriate steps
  5             of turning off the partner and notifying them
  6             that they would not be running within that
  7             header bidding solution and turning them on
  8             within Google's exchange bidding, and the
  9             shift would be then removing, the next step
 10             of the shift would be removing the line of
 11             code which the header bidder is on our site
 12             at the header and from removing that by our
 13             technologist.
 14                    Q.   In the second sentence of this
 15             paragraph, it says, that "the test confirmed
 16             our hypothesis that Index Exchange's wrapper
 17             integration isn't providing incremental value
 18             and instead it's adding additional tech and
 19             operational burden to the organization."
 20                         What additional tech burden was
 21             being added by Index Exchange's wrapper?
 22                    A.   The tech burden that we are
 23             outlining here is the technology impact
 24             around the site performance, which could also
 25             include the speed in which the page is

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             loading for the end user or reader.
  3                    Q.   And what's the operational burden
  4             you're talking about?
  5                    A.   Operationally that is the personnel
  6             and time of those people responsible for
  7             managing that specific integration and also
  8             the partnership in which we had with Index
  9             Exchange.
 10                    Q.   You said that the tech, the tech
 11             burden you were referring to could include
 12             issues with the speed in which the page is
 13             loading for the end user or reader.          Why does
 14             that matter to The New York Times?
 15                    A.   There are a number of factors why
 16             this is important for us.          It is both ad
 17             related and also the user or reader
 18             experience.    It is our priority to provide a
 19             experience for our readers that loads quickly
 20             and has a proper or fast experience for them
 21             to consume the content.         On the ad side any
 22             slow down in the ad, in the page load and the
 23             process around loading the content and the
 24             ads has incremental or negative impacts,
 25             sorry, negative impacts to the number of ads

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             that may serve and potentially the
  3             viewability of those ads that we are placing
  4             on the surface.
  5                    Q.   In your experience does header
  6             bidding often impact reader experience?
  7                         MR. VERNON:       Objection, leading and
  8                    vague.
  9                    A.   It is hard to say for certain that
 10             it had a impact to the reader for them to
 11             know and be able to say it is due to a
 12             specific reason.      It was our conclusion that
 13             this could be one aspect in which why a page
 14             load speed could be slowed down and then
 15             affect the reader experience.
 16                    Q.   What does it mean that Index
 17             Exchange's wrapper is not providing
 18             incremental value?
 19                    A.   Over the normal course of testing
 20             at The New York Times, we try to use the
 21             appropriate methodologies that allow us to
 22             test both the control and a variant.          In this
 23             experience, the results bared out that there
 24             was no excess revenue coming from or
 25             incremental revenue coming from open auction

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             by eliminating Index's wrap and other SSPs
  3             were able to make up for that revenue loss.
  4                    Q.    If you go to the page that's marked
  5             0112, at the bottom, do you see where I am?
  6                    A.    Yes.
  7                    Q.    The first bullet on that page says,
  8             "There was initial concern if the other SSP
  9             partners would take on the share of revenue
 10             that was removed from Index."                  What does
 11             "other SSP partners" refer to?
 12                    A.    At the time of this test was
 13             conducted, the other SSP partners would have
 14             been the SSPs that we disclosed in our ad.txt
 15             and the partners that we were working with at
 16             that time.
 17                    Q.    And what's the concern that's being
 18             highlighted in this bullet?
 19                    A.    During the course of the test, we
 20             do outline many hypothetical situations which
 21             could produce a negative or a positive
 22             impact.     One of those hypotheticals, which we
 23             did not know at the time of the test
 24             beginning, was whether or not as their SSP
 25             partners would fill those now vacated

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   Why was the recommendation to
  3             migrate all of Index Exchange's demand to
  4             Google's exchange bidding?
  5                         MR. BLAISDELL:        Object to the form.
  6                    A.   We made the recommendation to move
  7             the partners out of Index Exchange or Index
  8             Exchange -- sorry -- out of Index Exchange
  9             header bidding to open bidding or EB, because
 10             EB typically has a lower impact on the site
 11             performance and is also managed within Google
 12             Ad Manager, which would limit the impact of
 13             operational burden.
 14                    Q.   When you say "site performance" --
 15             I'm sorry, when you said EB typically has a
 16             lower impact on site performance, do you mean
 17             that EB typically delivers a better reader
 18             experience?
 19                         MR. BLAISDELL:        Object to the form.
 20                         MR. VERNON:      Objection, leading.
 21                    A.   No, what I meant by that is that EB
 22             has typically lower impact on our site
 23             performance and could result in faster page
 24             speed.
 25                    Q.   What does it mean to have lower

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             impact on site performance?
  3                    A.   It could be a result -- the result
  4             could be faster load time for the page.
  5                    Q.   Why did The New York Times not
  6             migrate the demand to other SSP partners?
  7                         MR. BLAISDELL:           Object to the form.
  8                    A.   Can you please clarify?               SSP
  9             partners or --
 10                    Q.   Yeah.
 11                         There were three SSPs or solutions
 12             identified on the Bates, the page ending in
 13             112, I think you said it was AdX, EB, OpenX
 14             and AppNexus.    My question is:               Why did The
 15             New York Times migrate the Index Exchange,
 16             why did it migrate the Index Exchange demand
 17             to Google, Instead of OpenX and AppNexus?
 18                    A.   We cannot move SSP demand from one
 19             SSP to another.       We can only move SSP demand
 20             or partner to header bidding integrations.
 21             OpenX and AppNexus on the document that
 22             you're referencing are not header bidding
 23             solutions.
 24                    Q.   Were there any other header bidding
 25             solutions that The New York Times was working

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             with at this time, besides Index Exchange?
  3                    A.   Yes, at this time.
  4                    Q.   Why did you decide not to migrate
  5             to those other header bidding solutions?
  6                         MR. BLAISDELL:           Object to the form.
  7                    A.   We were focused on testing Index
  8             and the conclusion of this test may have led
  9             us to test other solutions, and in the time
 10             we wanted to preserve the revenue, and open
 11             bidding or EB was available to us with
 12             limited disruption.
 13                    Q.   Okay.
 14                         MS. MORGAN:         Let's put up another
 15                    document.     Let's do this one.
 16                         While we are waiting for that to
 17                    load...
 18                    Q.   Are you familiar with the Facebook
 19             Audience Network?
 20                    A.   I am.
 21                    Q.   What is it?
 22                    A.   Facebook Audience Network from my
 23             understanding is their programmatic solution
 24             for publishers to extend ads that are bought
 25             on Facebook to deliver across publishers that

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             adopt or work with Facebook Audience Network.
  3                    Q.   Did The New York Times work with
  4             Facebook Audience Network at any point in
  5             your time there?
  6                    A.   Yes.
  7                    Q.   What did Facebook Audience Network
  8             do for The New York Times, what service did
  9             it provide?
 10                    A.   They acted as a programmatic ad
 11             technology partner that we considered to be
 12             similar to an SSP so they placed ads on
 13             our -- in our supply.
 14                    Q.   Does The New York Times still use
 15             Facebook Audience Network?
 16                    A.   No, they do not.           No, we do not.
 17                    Q.   Did The New York Times end its
 18             relationship with Facebook Audience Network
 19             at some point during your time at The New
 20             York Times?
 21                    A.   Yes.
 22                    Q.   Do you remember when that was?
 23                    A.   I don't remember the specific date
 24             off the top of my head, or year, but it was
 25             multiple years ago.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   Do you remember why?
  3                    A.   There were a number of reasons.
  4             There is many factors into why we begin or
  5             stop working with any number of programmatic
  6             partners or ad technology firms.            For
  7             Facebook specifically, and those reasons,
  8             they can be ad quality, the revenue, whether
  9             it was incremental or not, and as I mentioned
 10             earlier, the operational burden that more
 11             partners have to the business.
 12                    Q.   When you refer to ad quality, what
 13             are you talking about?
 14                    A.   The New York Times has ad
 15             acceptability and standards guidelines, and
 16             we want to ensure that the ads that are seen
 17             or potentially could be seen by a reader are
 18             up to those standards that we have outlined
 19             in ad acceptability and standards.
 20                    Q.   Was Facebook Audience Network not
 21             delivering ads that were acceptable under The
 22             New York Times' standards?
 23                         MR. BLAISDELL:        Object to the form.
 24                    A.   It's a difficult question to
 25             answer, as we don't see every ad that is

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.   It is our firm belief that we
  3             should have certain level of transparency of
  4             which ads and the number of ads and the price
  5             of those ads are made available to us as they
  6             are transacting on our owned and operated
  7             properties.
  8                    Q.   Has The New York Times ceased
  9             working with other ad tech partners besides
 10             Facebook Audience Network?
 11                         MR. BLAISDELL:        Object to the form.
 12                    A.   There have been partners that we no
 13             longer work with, yes.
 14                    Q.   Can you think of any examples?
 15                    A.   We -- in both partners, both SSP
 16             and ad technology, one of the best examples I
 17             can provide is obviously the Index Exchange
 18             wrapper no longer working with, as well as
 19             Media.net's wrapper.
 20                    Q.   We talked about Index Exchange.
 21             Why did you stop working with Media.net's
 22             wrapper?
 23                    A.   Similarly a test concluded that the
 24             incrementality and the impact to the
 25             operations and resources did not provide us

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             the necessary value to maintain that specific
  3             wrapper relationship.
  4                    Q.    Were there also tech burdens
  5             related to the Media.net's wrapper?
  6                          MR. BLAISDELL:           Object to the form.
  7                    A.    I don't have that document or
  8             recall specifically, but I can conclude that
  9             would be a similar outcome.
 10                    Q.    Similar to Index Exchange?
 11                    A.    For the -- yes.
 12                    Q.    Okay.
 13                          MS. MORGAN:         I think this document
 14                    should be loaded now, which I am going
 15                    to mark as Exhibit 4.
 16                          (NYT Exhibit 4, E-mail dated
 17                    10/25/18, Bates Nos.
 18                    GOOG-DOJ-AT-00587215 and
 19                    GOOG-DOJ-AT-00587216, marked for
 20                    identification, this date.)
 21                    Q.    Do you see that?
 22                    A.    Yes.
 23                          MS, MORGAN:         Amazing, every time
 24                    it's like a miracle to me that it shows
 25                    up.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             across our overall business.
  3                    Q.   Today for display The New York
  4             Times uses Google's DFP as its publisher ad
  5             server; is that right?
  6                         MS. MORGAN:        Object to the form.
  7                    A.   Yes.
  8                    Q.   Prior to using DFP as The New York
  9             Times' publisher ad server, The New York
 10             Times used a publisher ad server that it had
 11             built and operated itself; is that right?
 12                         MS. MORGAN:        Object to the form,
 13                    leading.
 14                    A.   Yes, that's correct.
 15                    Q.   I am going to reask.
 16                         Before using DFP as its publisher
 17             ad server, what did The New York Times use as
 18             its publisher ad server?
 19                    A.   The New York Times used a
 20             proprietary ad server to fulfill our ads
 21             across our properties before Google Ad
 22             Manager or DFP.
 23                    Q.   And who built and operated that
 24             proprietary ad server?
 25                    A.   The New York Times resources and

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             personnel.
  3                    Q.     When approximately did The New York
  4             Times switch from using The New York Times'
  5             proprietary ad server to using DFP?
  6                    A.     I cannot recall the specific date.
  7             It was prior to my employment at The New York
  8             Times.      I believe it was around 2015.
  9                    Q.     Why did The New York Times switch
 10             from using The New York Times' proprietary
 11             publisher ad server to using Google's DFP as
 12             its publisher ad server for display?
 13                    A.     There were a number of factors into
 14             which we made the decision to sunset the use
 15             of our own proprietary ad server and migrate
 16             to DFP or now Google Ad Manager.              Amongst
 17             them was aligning ourselves with the industry
 18             standard that other publishers were using,
 19             the capability of utilizing Google's
 20             programmatic demand, most specifically
 21             dynamic allocation which is a feature of
 22             Google's programmatic tool, also it helped
 23             with improving our personnel operations and
 24             also reducing the impact of billing
 25             discrepancies with our direct relationships

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                                                                   Page 143

  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             with advertisers and agencies.
  3                    Q.   One of the things that you
  4             mentioned, I think you said one of the
  5             reasons that The New York Times switched from
  6             using its proprietary publisher ad server to
  7             using Google's DFP was to align yourself with
  8             the industry standard.           Do you remember that?
  9                    A.   Yes.
 10                    Q.   What did you mean by "the industry
 11             standard"?
 12                    A.   We recognize that our competitors,
 13             direct competitors in the space were using
 14             Google Ad Manager as their primary ad serving
 15             capability and other publishers in the space
 16             as well was using Google Ad Manager or DFP
 17             and allowed us to evaluate whether or not it
 18             would be sufficient to continue using our own
 19             priority -- proprietary ad server or shift to
 20             Google Ad Manager, which we perceived as the
 21             industry standard ad server.
 22                    Q.   When you say that -- well, let me
 23             ask one basic question.           Does Google Ad
 24             Manager refer to the same thing roughly as
 25             DFP?

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                                                                    Page 144

  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.   Yes.
  3                    Q.   When you say that Google Ad Manager
  4             was the industry standard publisher ad
  5             server, what do you mean by that?
  6                    A.   In short --
  7                         MR. BLAISDELL:          Object to the form.
  8                    A.   In short it was the ad server that
  9             many publishers were using and agencies and
 10             advertisers were acquainted with.
 11                    Q.   What's your sense for, if you focus
 12             on United States-based publishers, what's
 13             your sense for how many of them use DFP by
 14             Google as their publisher ad server?
 15                         MS. MORGAN:        Objection to form,
 16                    lacks foundation.
 17                         MR. BLAISDELL:          Object to form.
 18                    A.   I can't speak on the percentage or
 19             know the number of advertisers -- I'm
 20             sorry -- publishers that use Google Ad
 21             Manager as their ad server.              My assumption is
 22             that it is a substantial size of publishers
 23             using this ad server.
 24                    Q.   One of the other things that you
 25             mentioned as a factor in The New York Times'

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             decision for switching from its proprietary
  3             publisher ad server to switching to DFP was
  4             dynamic allocation.          Do you remember that?
  5                    A.   I do.
  6                    Q.   Can you elaborate on what you
  7             meant?
  8                         MS. MORGAN:         Objection to form.
  9                    A.   Dynamic allocation was a feature
 10             that was not widely available or a feature
 11             that's offered by other ad technology
 12             partners, to our knowledge, and it allowed
 13             for improved competition within the ad call,
 14             in allowing programmatic to have the
 15             capability of being prioritized or competing
 16             with other programmatic more efficiently, and
 17             also the direct business, which would
 18             effectively improve the yield for The New
 19             York Times if we had that enabled.
 20                    Q.   Do you have an understanding of
 21             whether switching from The New York Times'
 22             proprietary ad server to switching to DFP as
 23             the display publisher ad server had any
 24             impact on how much revenue New York Times got
 25             from Google's AdX?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MS. MORGAN:         Objection to form.
  3                    A.   Sorry.      Can you clarify the
  4             question?
  5                    Q.   Sure.
  6                         When The New York Times switched
  7             from using its proprietary publisher ad
  8             server for display to using Google's DFP as
  9             its publisher ad server for display, what
 10             impact, if any, did it have on the amount of
 11             revenue that The New York Times received from
 12             Google's AdX?
 13                    A.   Switching to Google Ad Manager
 14             allowed us to operate with programmatic
 15             partners more effectively in the now modern
 16             space of programmatic, historically
 17             programmatic was at the beginning of the
 18             programmatic lifespan, it was a tag-based
 19             solution which was in efficient and
 20             ineffective and switching to Google Ad
 21             Manager allowed us to work with more partners
 22             more effectively and utilize features that
 23             were not available within our own proprietary
 24             ad server.
 25                    Q.   When you mentioned a tag-based

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             system, what were you referring to?
  3                    A.   In the past, early days in
  4             programmatic, the programmatic partner,
  5             whether that be a network or a specific
  6             advertiser that wanted to create a
  7             programmatic-ish relationship, they would
  8             send us a creative tag that would be placed
  9             into the ad server and then submit bids
 10             within that tag, but that did not mean that
 11             that programmatic bid would win, and
 12             ultimately making that impression unfilled
 13             and not being monetized for the publisher,
 14             which would then put the revenue at a
 15             deficit.    The modern programmatic space now
 16             allows for more bids to be submitted, and
 17             then fill when something chooses not to win
 18             the bid, or that's not the right audience for
 19             it, that they did not compete, compete to win
 20             the CPM.
 21                         MR. BLAISDELL:        I'll just object to
 22                    the form of the last question.
 23                    Q.   Under tagged-based bidding for
 24             display in multiple exchanges submit realtime
 25             bids for the same impression?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MS. MORGAN:      Objection to form,
  3                    lacks foundation.
  4                    A.   A tagged-based solution is not an
  5             exchange and it would be -- it would not be
  6             as effective.
  7                    Q.   Why is a tagged-based system for
  8             display not as effective in your opinion?
  9                         MS. MORGAN:      Objection, form.
 10                         MR. BLAISDELL:        Object to the form.
 11                    A.   The tagged-based solution is not as
 12             effective because when the specific tag is
 13             entered into the ad server, it will be called
 14             by the ad server and it may win, but a bid
 15             may not be returned or the bid may not be
 16             won, within the tag, and then it would go
 17             unfilled and there would be essentially a
 18             blank space and the publisher would not earn
 19             revenue on that.
 20                    Q.   Let me go back to another question.
 21                         When The New York Times switched
 22             from using its proprietary publisher ad
 23             server for display to using Google's
 24             publisher ad server, what effect, if any, did
 25             that have on the amount of revenue The New

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             York Times got from Google's AdX?
  3                         MS. MORGAN:      Objection to form.
  4                    A.   I cannot speak to the specific
  5             numbers off the top of my head, but switching
  6             to Google Ad Manager allowed us to
  7             incorporate programmatic more fully into our
  8             advertising business, and resulted in




 11                    Q.   Let me turn back to The New York
 12             Times' proprietary publisher ad server.
 13                         What disadvantages, if any, are
 14             there to The New York Times using a publisher
 15             ad server for display that it has built and
 16             operated itself?
 17                         MR. BLAISDELL:        Object to form.
 18                         MS. MORGAN:      Objection to the form.
 19                    A.   Just to clarify, disadvantages?
 20                    Q.   Right.
 21                    A.   Maintaining ad technology that is
 22             homegrown, built internally, whether that be
 23             an ad server, has several disadvantages.
 24             One, the operational support and
 25             infrastructure in capital resources required

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             to maintain that and to evolve with the
  3             industry changes would require us to invest a
  4             significant portion.       And then also just
  5             staying up to date with the evolving
  6             landscape of the ad formats and being able to
  7             adapt to our clients' needs readily and
  8             availably, or quickly.
  9                    Q.   Do you know if any publishers other
 10             than The New York Times use their own
 11             proprietary publisher ad server for display
 12             today?
 13                         MS. MORGAN:      Objection to form.
 14                         MR. BLAISDELL:        Object to form.
 15                    A.   I do not know of any off the top of
 16             my head.
 17                    Q.   Do you know how common it is today
 18             for publishers to use their own proprietary
 19             publisher ad servers for display?
 20                         MR. BLAISDELL:        Object to form.
 21                    A.   I do not know the commonality of
 22             it.    I know that there is essentially an
 23             industry standard for an ad server.          I would
 24             suspect that it's low.
 25                    Q.   Today, do you view building a

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             proprietary ad server for display as being a
  3             viable alternative to Google's DFP ad server?
  4                         MR. BLAISDELL:        Object to form.
  5                         MS. MORGAN:      Objection to form.
  6                    A.   It's a complicated question to
  7             answer, and it depends on the priorities and
  8             the strategy of the publisher themselves.
  9             For The New York Times, at this time it is
 10             not something that we are looking to do, but
 11             for other publishers that believe they have a
 12             competitive advantage or have the capability
 13             to do this well, that could be possible for
 14             them, but I cannot speak or speculate on, on
 15             that.
 16                    Q.   For The New York Times today, why
 17             is building a proprietary publisher ad server
 18             for display in your view not something The
 19             New York Times is looking something to do?
 20                         MS. MORGAN:      Objection to form.
 21                         MR. BLAISDELL:        Object to form.
 22                    A.   Today we have many different
 23             strategic priorities that are prioritized
 24             ahead of building homegrown technology
 25             specifically around ad serving, and it is not

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             something that we are looking to do at this
  3             point.
  4                    Q.   Today, in your opinion, would it be
  5             easy for The New York Times to build and
  6             maintain a proprietary publisher ad server
  7             for display?
  8                         MS. MORGAN:         Objection to form.
  9                         MR. BLAISDELL:           Object to form.
 10                    A.   Easy is a pretty relative term.            I
 11             suspect that it would not be easy for the
 12             reasons that I outlined why we made the
 13             switch to Google Ad Manager or DFP.             It would
 14             be require a large amount of capital
 15             resourcing, personnel resourcing and
 16             infrastructure output that would be required
 17             to make that change.
 18                    Q.   In your opinion would it be a good
 19             idea for The New York Times to start using a
 20             proprietary ad server for display today?
 21                         MS. MORGAN:         Object to form.
 22                         MR. BLAISDELL:           Object to form.
 23                    A.   Can you repeat the question?
 24                    Q.   Sure.
 25                         Just in your opinion would it be a

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             good idea for The New York Times to start
  3             using a proprietary publisher ad server for
  4             display today?
  5                         MS. MORGAN:       Objection to form.
  6                         MR. BLAISDELL:         Object to form.
  7                    A.   In my personal capacity as an
  8             individual, I would not make that
  9             recommendation.
 10                    Q.   Why would you personally not
 11             recommend that The New York Times develop its
 12             own proprietary publisher ad server system
 13             today?
 14                         MS. MORGAN:       Objection to form.
 15                    A.   In my own personal capacity, I
 16             believe that there are many different
 17             priorities that supersede the need for making
 18             that change, and there are -- there is value
 19             in economies of scale in using a standard
 20             infrastructure and system.
 21                    Q.   Why do you think there is value in
 22             economies of scale for display publisher ad
 23             servers that are not built as a proprietary
 24             ad server by the publisher?
 25                         MS. MORGAN:       Objection to form.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MR. BLAISDELL:           Object to form.
  3                    A.   I'm sorry.        I'm going to ask you to
  4             repeat that once more.
  5                    Q.   Sure.
  6                         Focusing on publisher ad servers
  7             that are not built as proprietary ad servers
  8             of a publisher, why do you think that there
  9             are economies of scale in display publisher
 10             ad serving?
 11                         MR. BLAISDELL:           Object to form.
 12                    A.   The economies of scale I'm
 13             referencing is the features that get rolled
 14             out at a -- in a broad-based way, allows
 15             multiple users of that technology to benefit
 16             at the same time, or roughly the same time,
 17             and also aligns or is able to make changes to
 18             industry trend changes, whether that be ad
 19             formats or targeting or anything along those
 20             lines.
 21                    Q.   Whether The New York Times moved
 22             away from using its proprietary publisher ad
 23             server to Google's DFP ad server, did The New
 24             York Times consider using any other publisher
 25             ad servers instead of DFP?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.   I do not recall off the top of my
  3             head, yeah.
  4                    Q.   So I am going switch topics a
  5             little bit.    I'm going to try ask you asking
  6             you questions off the top of your head.           If
  7             we need a document, we can go there.
  8                         For programmatic display, for The
  9             New York Times, what is the largest exchange
 10             in terms of the percentage of the New York
 11             Times' programmatic display revenue that that
 12             exchange handles?
 13                         MS. MORGAN:        Objection to form.
 14                    A.




 17                    Q.   If I use the phrase "AdX," will you
 18             understand that I'm referring to the Google's
 19             ad exchange?
 20                    A.   Yes.
 21                    Q.   What percentage approximately of
 22             The New York Times' programmatic display
 23             revenue does Google's AdX exchange account
 24             for?
 25                    A.   It's difficult to say as it varies

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             day to day, week by week and even by quarter.
  3
                                                            .
  5                   Q.   Do you believe that Google's,
  6             Google AdX percentage of The New York Times
  7             programmatic display revenue would be
  8             typically above 70 percent or below
  9             70 percent?
 10                        MS. MORGAN:       Objection to form.
 11                        MR. BLAISDELL:         Object to form.
 12                   A.   Can you clarify "typically"?          I'm
 13             sorry, I want to be very precise on this.
 14                   Q.   On average in a given year, for any
 15             of the past three years, would Google AdX'
 16             percentage of The New York Times'
 17             programmatic display revenue be more or less
 18             than 70 percent?
 19                        MS. MORGAN:       Objection to form.
 20                   A.   I don't know the specifics as it
 21             varies greatly day by day.




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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   I would ask you to turn back to
  3             Exhibit 3.    This was the document with the
  4             title, "Index Exchange Bidder Test Results"
  5             at the top.
  6                         I'm going to ask you to turn to
  7             page, it's page 5 in the PDF and it ends with
  8             the Bates number 112.
  9                    A.   I have it open.        Sorry.   If you
 10             need my confirmation.
 11                    Q.   No worries.
 12                         First question, do you remember
 13             about what date this document, like there are
 14             charts on this page that show shares of The
 15             New York Times' revenue by partner.           Do you
 16             know about what date range that chart would
 17             apply to?
 18                    A.   On this slide specifically, I
 19             cannot recall the date range, and it does not
 20             look to be present on this slide
 21             specifically.
 22                    Q.   Do you remember about when The New
 23             York Times was considering switching away
 24             from Index Exchange's header bidding wrapper?
 25                    A.   I believe this test was conducted

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             in 2019.
  3                    Q.   Would it be fair to assume that
  4             these revenue share numbers are from around
  5             2019 or slightly earlier, like possibly 2018?
  6                         MR. BLAISDELL:           Object to form.
  7                         MS. MORGAN:         Object to form.
  8                    A.   The revenue percentages or share of
  9             revenue would be isolated to the test itself,
 10             around that period of time.
 11                    Q.   If you look at, let's start with
 12             the share chart in the upper right, there
 13             are -- it says, "revenue by partner control
 14             variant," and then -- I'm just describing
 15             this for the record -- there is a sort of
 16             line share chart and on the left axis there
 17             is like various percentage numbers like
 18             zero percent, 20 percent.             Do you see that?
 19                    A.   I do.
 20                    Q.   This chart, is it fair to say that
 21             this chart indicates that AdX and open
 22             bidding accounted for around 70 percent to up
 23             to around 80 percent bearing by time of The
 24             New York Times' programmatic display revenue?
 25                         MS. MORGAN:         Objection to form.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MR. BLAISDELL:           Object to form.
  3                         MS. MORGAN:         Also lacks foundation.
  4                    A.   Sorry.      Can you please repeat the
  5             question?
  6                    Q.   Sure.
  7                         This chart entitled, "Revenue by
  8             Partner:    Control Variant" shows that AdX and
  9             open bidding accounted for approximately
 10             70 percent and up to 80 percent approximately
 11             of New York Times' programmatic display
 12             revenue as of the time of this chart; is that
 13             fair?
 14                         MS. MORGAN:         Objection to form,
 15                    lacks foundation.
 16                    A.   Based on this chart in front of me,
 17             yes, I think that's fair.
 18                    Q.   Were you involved in the tests that
 19             are depicted on this slide?
 20                         MR. BLAISDELL:           Object to form.
 21                    A.   As my responsibilities around this
 22             time of this test, I would have been
 23             involved.
 24                    Q.   Do you remember if you were
 25             involved in creating this document,

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             Exhibit 3?
  3                    A.   Yes, I believe I was involved.
  4                    Q.   Do you know where the data that
  5             forms the basis for this "Revenue By Partner:
  6             Control Variant" chart would come from?
  7                    A.   The data used for this chart would
  8             have been provided by our partners in the
  9             data and insights group and the data would
 10             have been built off of our data warehouse
 11             which includes Google's data transfer files
 12             and our partner data that is aggregated and
 13             adjusted.
 14                    Q.   Do you have any reason to believe
 15             that this "Revenue By Partner:              Control
 16             Variant" chart is inaccurate in any way?
 17                    A.   I do not have any reason to believe
 18             it would be inaccurate in any way.
 19                    Q.   If you were to set aside this chart
 20             for the moment, would your expectation be
 21             that AdX and open bidding combined would
 22             account for around 70 percent of The New York
 23             Times' programmatic display revenue in
 24             approximately 2019?
 25                         MR. BLAISDELL:        Object to form.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MS. MORGAN:      Object to the form.
  3                    A.   Speaking for this chart in the
  4             specific timeframe that it is representing,
  5             AdX, with the inclusion of its other, with
  6             our other programmatic partners running
  7             within EB, yes, it would be at or above
  8             70 percent, with the inclusion of exchange
  9             bidding.
 10                    Q.   And the answer that you just gave,
 11             are you basing that on your own knowledge or
 12             on the chart?
 13                    A.   I am using the production document
 14             in front of me as the basis of my answer.
 15                    Q.   I see.
 16                         Setting this document aside, what
 17             is your understanding of the -- what was your
 18             best estimate of --
 19                         MR. VERNON:      I'm sorry.     Can I
 20                    start over again?
 21                    Q.   Setting this document aside, what
 22             would be your best estimate for today, the
 23             percentage of New York Times' programmatic
 24             display revenue that comes from AdX
 25             specifically?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MR. BLAISDELL:           Object to form.
  3                    A.   AdX specifically, with the
  4             exclusion of our partners running within open
  5             bidding, it would be the majority share, but
  6             I do not expect it to be the number in the
  7             document here, with the exclusion of EB, and
  8             it varies depending on seasonality and
  9             whether or not there are direct campaigns
 10             that could even influence the share of
 11             programmatic revenue that is generated by
 12             AdX.
 13                    Q.   Setting aside this document, what
 14             would your best estimate be for the
 15             percentage of New York Times' programmatic
 16             display revenue that comes from AdX and open
 17             bidding combined?
 18                         MS. MORGAN:         Objection to form.
 19                         MR. BLAISDELL:           Object to form.
 20                    A.   My best guess, without the data in
 21             front of me, and I could speculate that it
 22             would be between                                 .
 23                    Q.   Okay.     So it sounds like your best
 24             estimate is that, as of today, AdX would
 25             account for                                    of New York

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             Times' programmatic display revenue; is that
  3             correct?
  4                         MS. MORGAN:         Objection to form.
  5                         MR. BLAISDELL:           Object to form.
  6                    A.   Yes.
  7                    Q.   Apologies.        Let me just reask this
  8             slightly.
  9                         As of today, what would your
 10             estimate be for the percentage of The New
 11             York Times' programmatic display revenue that
 12             comes from AdX?
 13                         MR. BLAISDELL:           Object to form.
 14                    A.   Sorry.      Can you please repeat the
 15             question?
 16                    Q.   Sure.
 17                         As of today, what would your best
 18             estimate be for the percentage of The New
 19             York Times' programmatic display revenue that
 20             comes from AdX?
 21                         MR. BLAISDELL:           Object to form.
 22                    A.   Based on my best guess for web and
 23             apps, not inclusive of audio or newsletter,
 24             and explicitly AdX, I would suspect that the
 25             share of revenue for open auction would be

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                                             .
  3                   Q.   What is your best the estimate, as
  4             of today, for what the share would be for the
  5             second largest exchange in terms of the share
  6             of The New York Times' programmatic display
  7             revenue that would come from that exchange?
  8                        MS. MORGAN:       Objection to form.
  9                        MR. BLAISDELL:         Object to form.
 10                   A.   Once again, only web and app and
 11             excluding newsletter and audio for the second
 12             largest programmatic partner, the best guess
 13             I have would range and vary depending on the
 14             seasonality and time of year and platform
 15             would be between                                      .
 16                   Q.   And which exchange would be the
 17             second largest for the programmatic display
 18             for The New York Times?
 19                        MR. BLAISDELL:         Object to form.
 20                   A.   That number or -- I'm sorry -- that
 21             exchange varies.     We have seen exchanges
 22             perform more strongly in different periods of
 23             the year, and I cannot recall who, what
 24             number to be at this ask exact moment, in
 25             this, or today or in recent history.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   Understood.
  3                         Is having access to AdX for
  4             programmatic display good for The New York
  5             Times?
  6                         MS. MORGAN:      Objection to form.
  7                         MR. BLAISDELL:        Object to form.
  8                    A.   I think it's a complicated question
  9             to answer for our programmatic revenue,
 10             isolating that, to that, AdX is a benefit for
 11             our programmatic revenue, revenue in the
 12             overall ad business, yeah.
 13                    Q.   Why is that?
 14                    A.   We -- we review a number of
 15             different criteria when looking at
 16             programmatic partners to potentially partner
 17             with.    Obviously that is inclusive of
 18             revenue, but the uniqueness or the
 19             incrementality of that revenue is very, very
 20             important.    The other parts are also the
 21             amount of resources and operational expense
 22             that would be required, expense both being in
 23             time and wages, and also the capabilities
 24             that a partner may provide or should provide
 25             for ad quality controls and who we allow on

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             and who we can block.        Google AdX, if I was
  3             looking at this as a new partner, would be
  4             able to fulfill most of those criteria, both
  5             in quality controls and uniqueness of
  6             revenue, and also not operationally
  7             burdensome as potentially others.
  8                    Q.   How unique or not unique is the
  9             revenue that Google AdX brings to New York
 10             Times?
 11                         MS. MORGAN:      Objection to form.
 12                         MR. BLAISDELL:        Object to form.
 13                    A.




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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2
                                                      .
  4                    Q.   Has The New York Times performed
  5             the uniqueness test that you described for
  6             either AdX or other exchanges for
  7             programmatic display?
  8                    A.   I don't recall a specific date or
  9             test for Google specifically.
 10                    Q.   What do you recall about the tests
 11             that The New York Times has conducted about
 12             the uniqueness of programmatic display
 13             exchanges?
 14                         MS. MORGAN:         Objection to form.
 15                    A.   Sorry.      Can you please repeat the
 16             question?
 17                    Q.   Sure.
 18                         What do you recall about any tests
 19             that The New York Times conducted about the
 20             uniqueness of different programmatic display
 21             exchange partners?
 22                    A.   I'm really sorry.             Can you please
 23             clarify?
 24                    Q.   Okay.     Did The New York Times
 25             conduct any tests designed to figure out

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                                                                     Page 168

  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             whether particular exchanges provided unique
  3             revenue for programmatic display?
  4                    A.




 12                    Q.   One thing you mentioned when you're
 13             talking about whether Google AdX brought
 14             unique revenue or not was what other people
 15             tell you, including Google.               Do you remember
 16             that?
 17                    A.   I do.
 18                    Q.   What, if anything, did Google tell
 19             you about the uniqueness of the revenue that
 20             The New York Times could get from Google's
 21             AdX?
 22                         MS. MORGAN:         Objection to form.
 23                         MR. BLAISDELL:           Object to form.
 24                    A.   I do not recall the specifics as
 25             this, this switch has taken place for, for a

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             long time now, relatively speaking.               I don't
  3             remember the specifics of it.               But we are
  4             aware that there are advertisers that use
  5             Google and prefer Google as their ad
  6             technology, and we would assume that is, that
  7             is unique demand that we would not get from
  8             other ad technology.
  9                    Q.   Why do you assume that Google's AdX
 10             exchange provides The New York Times unique
 11             demand for programmatic display?
 12                         MS. MORGAN:      Objection to form.
 13                    A.   It is also our understanding that
 14             Google's buy-side platform, which is popular
 15             on the buy side, would be another reason why
 16             the unique demand would be coming through
 17             AdX.
 18                    Q.   When you're referring to the
 19             Google's buy-side platforms, are you
 20             referring to the Google's DSP or the Google
 21             display network or something else?
 22                         MS. MORGAN:      Objection to form.
 23                    A.   Referencing both of them.
 24                    Q.   What's your understanding of how
 25             unique or not unique the demand is from

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                                                                   Page 170

  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             Google's DSP?
  3                         MR. BLAISDELL:           Object to form.
  4                    A.




                                .
 14                    Q.   Do you know one way or the other
 15             whether the demand from Google's DSP is
 16             unique?
 17                         MR. BLAISDELL:           Object to form.
 18                    A.   Sorry.      Can you please clarify?
 19                    Q.   Sure.
 20                         Do you know whether -- how about
 21             this:    What is your best, best estimate,
 22             using your experience in the industry, as to
 23             whether the demand that comes from Google's
 24             DSP is either unique or not unique?
 25                         MS. MORGAN:         Objection to form.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.     Focusing on open auction
  3             specifically, what is your best estimate for
  4             whether Google's DSP either does or does not
  5             provide unique demand for The New York Times?
  6                           MR. BLAISDELL:        Object to form.
  7                    A.     I'm going to ask you to clarify
  8             again.      I'm trying to understand what you're
  9             looking for as the best guess.
 10                    Q.     Just qualitatively whether your
 11             best estimate, based on your experience in
 12             the industry, is either that Google's DSP
 13             does provide unique revenue for The New York
 14             Times or it does not?
 15                    A.




 23                    Q.     So stepping aside from the question
 24             of a specific percentage, what's your best
 25             estimate for, based on your experience in the

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             industry, whether the Google DSP either does
  3             or does not provide unique demand to The New
  4             York Times for open auction specifically?
  5                         MS. MORGAN:         Object to form.
  6                    A.   For -- I'm sorry.             I'm still
  7             struggling with the question.                  I am going to
  8             have to ask you again.
  9                    Q.   Sure.
 10                         So I don't want to ask about a
 11             specific percentage.
 12                    A.   Okay.
 13                    Q.   What I do want to ask about is just
 14             your best estimate, again based on your
 15             experience, for whether Google's DSP either
 16             does provide unique revenue to New York Times
 17             for open auction specifically or it does not?
 18                         MS. MORGAN:         Objection to form.
 19                         MR. BLAISDELL:           Object to form.
 20                    A.   From my personal capacity and my
 21             experience that you called out, I do believe
 22             that Google AdX does provide unique demand.
 23                    Q.   Let me ask a slightly different
 24             question.    I think you answered about AdX.
 25             Do you remember that?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         Focusing on Google's DSP, what's
  3             your best sense for whether Google's DSP
  4             either does or does not provide unique demand
  5             to The New York Times for open auction
  6             specifically?
  7                         MS. MORGAN:      Objection to form.
  8                    A.   My best guess for The New York
  9             Times specifically that AdX does provide
 10             unique demand for open auction.
 11                    Q.   But I think you referred to AdX
 12             again and I'm just trying to ask about the
 13             DSP.    Does that make sense?
 14                    A.   All right, yes.
 15                    Q.   Let me just ask my question, so
 16             it's clearer.
 17                         What's your best estimate, based on
 18             your experience, for whether Google's DSP
 19             either does or does not provide unique demand
 20             for open auction specifically for The New
 21             York Times?
 22                    A.   My best guess is that Google's DSP
 23             has unique demand and transacts on The New
 24             York Times.
 25                    Q.   Sorry.   It took me a while to get

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             there.
  3                         What is your best estimate based on
  4             your experience for whether Google's display
  5             network provides unique demand for open
  6             auction displays, specifically for The New
  7             York Times?
  8                         MS. MORGAN:      Objection to form.
  9                         MR. BLAISDELL:        Object to form.
 10                    A.   My best guess is that Google's
 11             display network does provide unique demand to
 12             The New York Times.
 13                    Q.   And why?
 14                         MR. BLAISDELL:        Object to form.
 15                    A.   From my understanding, the demand
 16             from Google's ad network -- sorry, I'm
 17             forgetting the appropriate, exact name --
 18             provides unique demand that is not available
 19             to either SSPs from our understanding and is
 20             only accessible through AdX.
 21                    Q.   Can you explain, at whatever level
 22             of generality you're comfortable with, how
 23             important the unique demand that comes from
 24             Google's display network is for The New York
 25             Times?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MS. MORGAN:         Objection to form.
  3                         MR. BLAISDELL:           Object to form.
  4                    A.   In general we are actively seeking
  5             out unique demand across all of our
  6             programmatic providers or SSP providers, and
  7             that uniqueness in each of those providers is
  8             very important, and the primary, one of the
  9             reasons, one of the primary reasons of many
 10             reasons why we would work with them.             And
 11             specifically to your point, Google would be
 12             one of those providers that we would, we
 13             would consider that.
 14                    Q.   Is it fair to say that the Google
 15             display network has the largest source of
 16             unique demand for programmatic display for
 17             The New York Times specifically?
 18                         MS. MORGAN:         Objection to form,
 19                    lacks foundation.
 20                         MR. BLAISDELL:           Object to form.
 21                    A.   Can you clarify the question?
 22                    Q.   Sure.
 23                         What's your understanding of what
 24             the largest source of unique demand is for
 25             programmatic display revenue specifically?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                             MR. BLAISDELL:        Object to form.
  3                    A.




                            .
 10                    Q.       In your last answer, did you mean
 11             to say that Google has the largest share of
 12             unique demand for programmatic display for
 13             The New York Times?
 14                             MS. MORGAN:      Objection to form.
 15                    A.




                                                       .
 22                    Q.       Understood.
 23                             Let me switch topics politely.
 24                             What is AdX' -- Google AdX' take
 25             rate for open auction display for The New

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             York Times?
  3                         MR. BLAISDELL:        Object to form.
  4                         MS. MORGAN:      Objection, form, lacks
  5                    foundation.
  6                    A.   I can only speak for the numbers
  7             that we have within our contract with Google
  8             and is only the revenue shares that we have
  9             with Google.
 10                    Q.   Go ahead.
 11                    A.
                               Our -- off the top of my head,
 13             if I'm remembering correctly --




                                                            .
 22                   Q.    Can you just repeat the take rate
 23             numbers?    I'm not sure that I got this and by
 24             the different categories.
 25                   A.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2




                                                       .
 10                   Q.   And all of the revenue shares that
 11             you just listed were for Google's AdX
 12             exchange; is that right?
 13                   A.   That is correct.
 14                   Q.   Okay.     For The New York Times
 15             specifically?
 16                   A.   Correct, for The New York Times
 17             specifically.
 18                   Q.   Okay.     Approximately what
 19             percentage of The New York Times programmatic
 20             display revenue is open auction display?
 21                   A.




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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
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                                                .
  5                   Q.   What practical impact, if any,
  6             would losing access to AdX have on The New
  7             York Times?
  8                        MS. MORGAN:       Objection to form.
  9                        MR. BLAISDELL:         Object to form.
 10                   A.   Practical impact losing access to
 11             AdX would require a migration.              It would
 12             require migration to a new partner, discovery
 13             of who that new partner is, testing to ensure
 14             that that partner would be able to fulfill
 15             the gap that is, that it would leave behind
 16             such as any partner we remove and also
 17             testing to understand if our existing
 18             partners would be able to make up the revenue
 19             that would be missed.
 20                   Q.   Based on your experience with The
 21             New York Times, what's your best estimate for
 22             whether The New York Times could or could not
 23             replace any revenue that New York Times would
 24             lose if it turned off access to AdX for
 25             programmatic display?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                          MS. MORGAN:      Objection to form.
  3                          MR. BLAISDELL:        Object to form.
  4                    A.    It's a difficult question to
  5             answer.     Our priority continues to remain on
  6             direct advertising with those relationships
  7             directly with advertisers and agencies.           I
  8             would suspect that our efforts there would be
  9             able to help offset some of that revenue loss
 10             and partners would also fill the gap that,
 11             partially fill the gap that was created by no
 12             longer having AdX as an open auction PMP
 13             partner.
 14                    Q.    What's your expectation for whether
 15             The New York Times could or could not fully
 16             replace any revenue that it might lose if it
 17             were to turn off open, if it were to turn off
 18             AdX for programmatic display?
 19                          MS. MORGAN:      Objection to form.
 20                          MR. BLAISDELL:        Object to form.
 21                    A.    Again, it's hard to answer.        We
 22             would also expect that advertisers that were
 23             coming through any given programmatic partner
 24             or SSP inclusive of Google would be still
 25             actively seeking The New York Times as a

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             publisher to display their ads and would
  3             create an opportunity for our direct business
  4             to grow through those relationships now that
  5             access or access pipe would be no longer
  6             available.      And recovering the entire gap is
  7             difficult to measure, but it would be -- it
  8             would be potentially possible through the
  9             means of other programmatic partners and also
 10             our direct business, which continues to
 11             remain a priority of ours.
 12                    Q.   Has The New York Times ever tried
 13             to turn off AdX for programmatic display?
 14                    A.


                            .
 17                   Q.    Would you recommend The New York
 18             Times turn off AdX for programmatic display
 19             overall?
 20                         MS. MORGAN:         Objection to form.
 21                   A.    Can you repeat the question?
 22                   Q.    Sure.
 23                         Would you recommend that The New
 24             York Times turn off AdX for programmatic
 25             display overall?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MS. MORGAN:        Object to form.
  3                    A.   In my personal capacity, I would
  4             not make that recommendation.
  5                    Q.   Why?
  6                    A.   In my personal capacity I do
  7             believe the revenue we are earning from AdX
  8             is worth not missing, and it's also helping
  9             drive competition in the ad call bids which
 10             is ultimately growing revenue.
 11                    Q.   I think you said earlier your best
 12             estimate was the share of The New York Times
 13             open auction display revenue, it comes from
 14             AdX                                      ; did I get that
 15             right,                           ?
 16                    A.   Yes.
 17                         MR. BLAISDELL:           Object to form.
 18                    Q.   And then the next largest, your
 19             estimate was, between I think
                            ; is that right?
 21                    A.   Yes.
 22                    Q.   What's your best estimate for
 23             whether it would be harder or easier for The
 24             New York Times to turn off AdX for
 25             programmatic display compared to other

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             exchanges?
  3                         MS. MORGAN:         Objection to form.
  4                         MR. BLAISDELL:           Object to form.
  5                    A.   Turning off revenue from a
  6             predominant revenue source would be harder to
  7             turn off, because it would create a gap that
  8             would be harder and likely take more time to
  9             fill.
 10                    Q.   And when you refer to "a
 11             predominant revenue source," you're referring
 12             to Google's AdX; is that right?
 13                    A.   Specifically for open auction, yes.
 14                    Q.   Okay.     For -- how do Google's open
 15             auction take rates for display compared to
 16             the open auction take rates for the other
 17             exchanges that you're aware of that The New
 18             York Times used?
 19                         MS. MORGAN:         Objection to form.
 20                         MR. BLAISDELL:           Object to form.
 21                    A.




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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2


                                      .
  5                   Q.   And what are the opening auction
  6             take rates for The New York Times AppNexus?
  7                        MR. BLAISDELL:          Object to form.
  8                   A.   I don't have the take rates
  9             specifically off the top of my head, but we
 10             do attempt to negotiate
                                              .
 12                   Q.   Are The New York Times take rates
 13             for AppNexus lower than, equal to or higher
 14             than AdX' take rates for open auction for The
 15             New York Times?
 16                        MS. MORGAN:        Objection to form.
 17                        MR. BLAISDELL:          Object to form.
 18                   A.




 21                   Q.   Do you know specifically what
 22             AppNexus' take rates for The New York Times
 23             are for open auction for display?
 24                   A.



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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2




  7                     Q.   Do you know specifically whether
  8             AppNexus' take rate for The New York Times
  9             for open auction display is                       or you
 10             just don't know off the top of your head?
 11                          MS. MORGAN:      Objection to form.
 12                          MR. BLAISDELL:        Object to form.
 13                   A.     I don't know off the top of my
 14             head.
 15                          MR. VERNON:      Now might be a good
 16                   time to take a ten-minute break.
 17                          MS. MORGAN:      Sounds good to me.
 18                          MR. BLAISDELL:        That's fine.
 19                          THE VIDEOGRAPHER:          Standby, please.
 20                   The time is 2:18 p.m.           We are going off
 21                   the record and this will be end media
 22                   unit number 3.
 23                          (A brief recess was taken.)
 24                          THE VIDEOGRAPHER:          The time is
 25                   2:31 p.m.    We are back on the record.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             working with today and helping us achieve our
  3             revenue goals.
  4                    Q.   It would be easy or difficult for
  5             The New York Times to switch away from
  6             Google's DFP to another publisher ad server
  7             for display?
  8                         MR. BLAISDELL:        Object to form.
  9                    A.   Can you clarify, publisher ad
 10             server, can you clarify that?
 11                    Q.   Yes, just an ad server that a
 12             publisher like The New York Times would use
 13             to serve ads for programmatic display, as
 14             opposed to an advertiser ad server which is a
 15             different thing that advertisers use.              Does
 16             that make sense?
 17                    A.   Yes, thank you.
 18                         MR. BLAISDELL:        Object to form.
 19                    Q.   So let me ask again.            Would it be
 20             easy or difficult for The New York Times to
 21             switch away from Google's DFP to another
 22             publisher ad server for display?
 23                         MS. MORGAN:      Objection, form.
 24                         MR. BLAISDELL:        Object to form.
 25                    A.   All ad server migration and changes

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             are difficult and challenging for publishers
  3             for a number of reasons.             They are
  4             operationally complex, require a substantial
  5             amount of tech, technical resources, capital
  6             infrastructure and oftentimes expenses to
  7             make that switch.         So a migration would be a
  8             challenge.
  9                    Q.   Do you have an understanding, based
 10             on your years of experience in the industry,
 11             whether AdX submits realtime bids to a
 12             publisher if the publisher does not use DFP
 13             as its publisher ad server for display?
 14                         MS. MORGAN:         Objection to form.
 15                         MR. BLAISDELL:           Object to form.
 16                    A.   It is my general understanding that
 17             the AdX is available through Google Ad
 18             Manager.
 19                    Q.   What do you mean by that?
 20                    A.   Without Google Ad Manager you would
 21             not be able to access that demand.
 22                    Q.   Okay.     And do you know why a
 23             publisher like The New York Times cannot
 24             access the AdX demand if it doesn't use
 25             Google Ad Manager as its publisher ad server?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             Google AdX -- I'm sorry -- that The New York
  3             Times gets from Google AdX for display?
  4                         MS. MORGAN:      Objection to form,
  5                    lacks foundation.
  6                    A.   The removal of Google AdX, its
  7             impact on revenue for The New York Times' ads
  8             business, would be reduced, at least in the
  9             short term, until our existing or new
 10             partners filled the gap and/or our direct
 11             business making up for it, and creating new
 12             opportunities with direct relationships with
 13             advertisers.
 14                         MR. BLAISDELL:        Object to the form
 15                    of the last question.
 16                    Q.   I think you said you would not
 17             recommend turning off AdX for display; is
 18             that correct?
 19                    A.   That is correct.
 20                    Q.   Is it fair to say you would not
 21             recommend switching away from Google Ad
 22             Manager for The New York Times's display
 23             publisher ad server?
 24                    A.   That is correct.
 25                    Q.   And is one of the reasons that you

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             would not recommend switching away from
  3             Google Ad Manager as publisher ad server,
  4             that New York Times could potentially lose
  5             revenue from AdX?
  6                         MS. MORGAN:      Objection to form.
  7                    A.   It's one of a number of reasons why
  8             I would make that recommendation.           Revenue
  9             implications being one of them, also the
 10             burden it would add to the organization
 11             technically and on the personnel side as
 12             well.
 13                    Q.   Let me ask you in a slightly
 14             different way.
 15                         What are the main reasons why you
 16             would not recommend that The New York Times
 17             switch away from Google Ad Manager as
 18             publisher ad server for display?
 19                         MS. MORGAN:      Objection to form.
 20                         MR. BLAISDELL:        Object to form.
 21                    A.   The main reasons that come to mind
 22             for making a recommendation to not make that
 23             change would be the operational effort and
 24             burden that it would apply to the
 25             organization and the stakeholders and

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             individuals that would be required to make a
  3             change of that capacity; the potential
  4             revenue implications of making a switch most
  5             changes of ad technology have some impact to
  6             revenue in some capacity, whether it be short
  7             or long term; and then also making sure that
  8             we have the appropriate technology that
  9             allows for us to offer the formats and
 10             targeting that is most desirable to the ad
 11             marketplace today.
 12                    Q.   When you refer, when you referred a
 13             second ago to potential revenue implications,
 14             were you referring to a potential reduction
 15             in AdX revenue?
 16                         MS. MORGAN:       Objection to form.
 17                    A.   The revenue, the switch for Google
 18             Ad Manager would have implications beyond
 19             just Google programmatic AdX.                It would also
 20             impact our other direct revenue and
 21             programmatic partners as well.
 22                    Q.   Is it fair to say that one of the
 23             reasons you would not --
 24                         MR. VERNON:       Let me step back.
 25                    Q.   Would The New York Times prefer to

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    lacks foundation.
  3                         MR. BLAISDELL:           Object to form.
  4                    A.   Can you please repeat?
  5                    Q.   Sure.
  6                         Would it be good or bad for The New
  7             York Times, in your opinion, if the New York
  8             Times were to switch away from Google Ad
  9             Manager as its publisher ad server for
 10             display and then lose revenue from AdX?
 11                         MS. MORGAN:         Objection to form.
 12                         MR. BLAISDELL:           Object to form.
 13                    A.   In my capacity as VP of revenue
 14             operations, I would not make that
 15             recommendation and it would be a bad
 16             decision, as it would impact both operations
 17             of the organization and our revenue, and
 18             likely distract us from current priorities
 19             that we are focused on.
 20                    Q.   Going back to the price, let me go
 21             back to the price floor issue again.             Is that
 22             okay?
 23                    A.   Yes.     I think I answered that,
 24             right.
 25                    Q.   Is it bad for publishers to have

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MR. BLAISDELL:           Object to form.
  3                    A.   Can you clarify, please?
  4                    Q.   Sure.
  5                         Can you identify a specific reason
  6             why it would be bad for publishers to have
  7             the option to set different price floors for
  8             different exchanges?
  9                         MS. MORGAN:         Objection to form.
 10                    A.   Controls put in place by systems
 11             may have the capability of preventing
 12             unintended consequences and errors, and we,
 13             the publishers, The New York Times, make
 14             changes periodically within these systems and
 15             having the control over those pricing changes
 16             to an extent is what we want.                  But not if
 17             it's at the same time like undoing or having
 18             adverse, unintending consequences.                  That
 19             would be one reason why limiting the control
 20             of pricing would be potentially a benefit to
 21             The New York Times.
 22                    Q.   Is it fair to say that other
 23             publishers could take the perspective that
 24             they would prefer in setting different price
 25             floors for different exchanges?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MR. BLAISDELL:        Object to form.
  3                         MS. MORGAN:      Form.
  4                    A.   I think it's fair to say, and I
  5             would speculate that other publishers would
  6             like that level of control.
  7                    Q.   Do you think it makes sense to give
  8             publishers the option to set different price
  9             floors for different exchanges for display?
 10                         MS. MORGAN:      Object to form.
 11                         MR. BLAISDELL:        Object to form.
 12                    A.   I believe it makes sense to provide
 13             publishers the capability of adjusting
 14             pricing floors within their systems, yes.
 15                    Q.   Why do you believe it makes sense
 16             to give publishers the option to set
 17             different price floors for different
 18             exchanges for display?
 19                         MS. MORGAN:      Objection to form.
 20                    A.   One of the most obvious reasons for
 21             us is price is one of the -- excuse me --
 22             price is one of the most important
 23             determinants of how much fill and the number
 24             of advertisers coming into the supply.           A
 25             higher price floor will reduce the number of

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             advertisers or impressions being filled by
  3             programmatic partners within a space.          We
  4             have used this on occasion to protect for
  5             high, better ad quality and this capability
  6             allows us to do that.
  7                    Q.   If you were in charge of the
  8             decision, what would you do, would you give
  9             publishers the option to set different price
 10             floors for different exchanges or not?
 11                         MR. BLAISDELL:        Object to form.
 12                         MS. MORGAN:      Objection to form.
 13                    A.   Can you clarify, me personally or
 14             The New York Times?
 15                    Q.   You personally.
 16                    A.   In my personal capacity and not
 17             speaking on behalf of The New York Times, I
 18             do believe publishers should have at least a
 19             level of price floor manipulation or options
 20             for advertisers and -- and certain types of
 21             deals, transaction types, platforms, there is
 22             a number of pricing floor levers and
 23             capabilities that I do believe personally
 24             should be available to publishers, yes.           And
 25             I would make that decision, making it

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             available.
  3                    Q.   Does that include different floors
  4             for different exchanges?
  5                         MS. MORGAN:       Objection to form.
  6                         MR. BLAISDELL:         Object to form.
  7                         THE WITNESS:        Excuse me.     I need
  8                    to, something is on my screen.           My
  9                    computer's about to go off.
 10                         MR. BLAISDELL:         Just potentially
 11                    answer the question, just hit "postpone"
 12                    I think.
 13                         THE WITNESS:        Can you please repeat
 14                    the question?
 15                         MR. VERNON:       Sure.      I'm going to
 16                    phrase it slightly differently.
 17                    Q.   Do you personally believe if the
 18             decision were up to you would you give
 19             publishers the option to set different price
 20             floors for different exchanges for display or
 21             would you not give them an option?
 22                         MS. MORGAN:       Objection to form.
 23                         MR. BLAISDELL:         Object to form.
 24                    A.   If it was up to me personally, in
 25             my own personal capacity, I would give

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             publishers the capability of making price
  3             floors for each of their programmatic
  4             partners, or providers.
  5                    Q.   And you are aware that Google's UPR
  6             prevents publishers who use Google Ad Manager
  7             as their publisher ad server from setting
  8             different floors for different exchanges; is
  9             that fair?
 10                         MS. MORGAN:        Objection to form,
 11                    lacks foundation.
 12                    A.   I understand that there are
 13             limitations to UPR.         I also know and
 14             reference the floors that we do have the
 15             access and capability of managing within each
 16             of the programmatic providers as well, which
 17             is another lever that we can utilize when
 18             needed.
 19                    Q.   I think you're aware that Google's
 20             UPR prevents publishers from setting
 21             different floors for different exchanges; is
 22             that fair?
 23                    A.   Yes.
 24                         MS. MORGAN:        Objection to form.
 25                         MR. BLAISDELL:          Object to form.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   So you personally disagree with
  3             that; is that right?
  4                         MS. MORGAN:      Objection to form.
  5                         MR. BLAISDELL:        Object to form.
  6                         MS. MORGAN:      Lacks foundation.
  7                    A.   In my personal capacity, I believe
  8             publishers should have the capability of
  9             creating floors for each of their SSP
 10             providers.
 11                    Q.   Did you attend the meeting between
 12             Google and publishers about UPR and its
 13             impact on price floors?
 14                         MS. MORGAN:      Objection to form,
 15                    lacks foundation.
 16                         MR. BLAISDELL:        Object to form.    Go
 17                    ahead, you can answer.
 18                    A.   Can you clarify which meeting?
 19                    Q.   Have you attended any meetings
 20             between Google and a group of publishers,
 21             including yourself, about UPR's restriction
 22             on price floors for different exchanges?
 23                    A.   Yes, I have attended UPR meetings
 24             in the past.
 25                    Q.   And did you attend one where it was

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             a meeting between Google and multiple
  3             publishers?
  4                    A.   Yes.
  5                    Q.   At that meeting do you remember any
  6             publishers criticizing Google's UPR for
  7             limiting publishers' ability to set different
  8             price floors for different exchanges?
  9                    A.   Yes.
 10                    Q.   And what do you remember about that
 11             criticism?
 12                    A.   Generally speaking, the criticism
 13             was largely directed at Google for not
 14             providing the necessary level of control in
 15             which they believed that they should have
 16             access to, and limiting not only to SSPs but
 17             to potentially buyers as well when UPR was
 18             initially rolling out.
 19                    Q.   When publishers criticized UPR, did
 20             Google respond by restoring publishers'
 21             ability to set different price floors for
 22             different exchanges?
 23                         MS. MORGAN:        Objection to form.
 24                         MR. BLAISDELL:          Object to form.
 25                    A.   Google has responded in a number of

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             ways and included changes and features to
  3             UPR.    I do not recall specifically off the
  4             top of my head if they have made the changes
  5             around the level of UPR adjustments for other
  6             SSPs and partners.
  7                    Q.   Your understanding is that today
  8             publishers cannot set different price floors
  9             for different exchanges; is that fair?
 10                    A.   Yes.
 11                         MS. MORGAN:        Object to form.
 12                         MR. BLAISDELL:          Object to form.
 13                    Q.   Let me ask you about a different
 14             topic which is header bidding.
 15                         Which header bidding wrappers does
 16             New York Times use today?
 17                    A.   Today The New York Times uses
 18             Prebid and TAM, Amazon TAM.
 19                    Q.   Overall is header bidding good or
 20             bad for The New York Times?
 21                         MS. MORGAN:        Objection to form.
 22                         MR. BLAISDELL:          Object to form.
 23                    A.   Header bidding has been a positive
 24             introduction to the programmatic revenue for
 25             The New York Times.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   Does Prebid as a header bidding
  3             wrapper create any latency or reader
  4             experience issues?
  5                         MR. BLAISDELL:        Object to form.
  6                         MS. MORGAN:      Objection to form.
  7                    A.   Any introduction to the code for
  8             the website has the capability of degrading
  9             the performance of the site and potentially
 10             slowing down the loading of the site, which
 11             could potentially, adversely impact the
 12             reader experience.      That is also inclusive of
 13             Prebid.
 14                    Q.   And same question about TAM, does
 15             TAM impact page load speeds or user
 16             experience?
 17                         MS. MORGAN:      Objection to form.
 18                         MR. BLAISDELL:        Object to form.
 19                    A.   Any additional code on page would
 20             have the capability and potential of
 21             degrading the page load speed and ultimately
 22             impacting ad reader experience -- I'm
 23             sorry -- reader experience.
 24                    Q.   Did The New York Times use header
 25             bidder wrappers even though they have the

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             potential to reduce page load speeds and
  3             impact reader experience?
  4                    A.   Page load speed is just one of the
  5             considerations when we are making a decision
  6             within our framework.        The incrementality of
  7             revenue being another as well and also making
  8             sure that The New York Times has broad-based
  9             appeal to our advertisers in the marketplace,
 10             and so we have made the determination it is
 11             valuable to have header bidding as well.
 12                    Q.   Other than you, who are the main
 13             people at The New York Times who work on
 14             programmatic display ad tech for The New York
 15             Times or who have worked on it over the past
 16             three years?
 17                         MS. MORGAN:      Objection to form.
 18                    A.   There is a number of teams that
 19             have worked on programmatic directly and
 20             indirectly.




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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             personal capacity, I cannot speak for them.
  3                    Q.   Just in your personal experience,
  4             working at The New York Times, has anyone
  5             else within The New York Times, again setting
  6             aside communications with counsel, ever
  7             criticized Google's conduct in display
  8             advertising technology?
  9                         MS. MORGAN:      Objection to form.
 10                    A.   As New York Times official
 11             representative, just clarifying?
 12                    Q.   Oh, no, I'm asking about you
 13             personally.
 14                         In your personal work at The New
 15             York Times, has anyone at The New York Times,
 16             again setting aside communications with
 17             counsel, criticized any of Google's conduct
 18             for display advertising technology?
 19                         MS. MORGAN:      Objection to form.
 20                         MR. BLAISDELL:        Object to form.
 21                    A.   I cannot recall.
 22                    Q.   Approximately what --
 23                         MR. VERNON:      Let me start a
 24                    different question.
 25                    Q.   The New York Times has a team of

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             salespeople that sells direct display ads; is
  3             that right?
  4                         MS. MORGAN:      Objection to form.
  5                    A.   That's correct.
  6                    Q.   How large is the sales team that
  7             The New York Times has that sells direct
  8             display ads?
  9                    A.   The sales team, the representatives
 10             that are primarily responsible with
 11             communicating with agencies and advertisers
 12             within the United States is


                                                                  ,
 15             and that number does not include the support
 16             teams to help bring those pitches and sales
 17             opportunities to life.
 18                    Q.   When you were discussing your role,
 19             your various roles at New York Times earlier
 20             I think your first role that you mentioned
 21             was director of yield; is that right?
 22                    A.   That's correct, director of yield.
 23                    Q.   And in your role as director of
 24             yield for The New York Times, you only
 25             focused on direct display; is that right?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.   My first role as director of yield
  3             was primarily focused on digital, display,
  4             video and audio.
  5                    Q.   Was it both direct and programmatic
  6             or primarily direct?
  7                    A.   The first role was primarily
  8             direct.
  9                    Q.   Why did you focus in your first
 10             role at The New York Times primarily on
 11             direct, as opposed to both direct and
 12             programmatic display?
 13                    A.   The role in which I was hired for
 14             was spec'd out as director of yield focused
 15             on display video and audio for direct
 16             advertising, and did not include the
 17             responsibilities of programmatic at the time.
 18                    Q.   Do you know why?
 19                         MR. BLAISDELL:        Object to form.
 20                         MS. MORGAN:      Objection to form.
 21                    A.   There was -- there was another team
 22             responsible for programmatic that had a
 23             leader and team fully filled.
 24                    Q.   Today does The New York Times have
 25             some personnel who focus only on direct and

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             some personnel focused only on programmatic,
  3             again for display?
  4                    A.   Can you clarify, in a sales
  5             capacity or in another capacity?
  6                    Q.   I guess I'm meaning to make it a
  7             little broader, not just sales, but any of
  8             the main capacities.
  9                    A.   There is a small number of
 10             individuals that are focused purely on
 11             programmatic display, and the vast majority
 12             of the personnel are focused on direct.
 13                    Q.   Why does The New York Times have
 14             some personnel who focus only on direct and
 15             some personnel focused only on programmatic?
 16                         MR. BLAISDELL:        Object to form.
 17                    A.   The personnel focused on
 18             programmatic are operational individuals that
 19             are responsible for communication with the
 20             SSP providers and ensuring that we understand
 21             what, the revenue that we're making and any
 22             optimizations and also managing ad quality
 23             control.
 24                    Q.   Why does The New York Times have
 25             some personnel only focused on direct for

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             display?
  3                    A.   The primary focus of the ads
  4             business is a direct relationship with
  5             advertisers and agencies to maintain our
  6             direct business and that is why they are
  7             focused largely on direct.
  8                    Q.   Earlier when counsel for Google was
  9             asking you questions, she showed you a
 10             document with different line items for
 11             different types of ads.            Do you remember
 12             that?
 13                    A.   I do.
 14                    Q.   And there is one line item that
 15             included both direct display and programmatic
 16             guaranteed.    Do you remember that?
 17                    A.   I do.
 18                    Q.   Why, at least for some purpose,
 19             does The New York Times include direct
 20             display and programmatic display in the same
 21             line item?
 22                    A.   The document on the previous, or
 23             the previous document we include direct sold
 24             banners and PG in one line item as they are
 25             both guaranteed and are assigned through

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             contracts and have insertion orders typically
  3             accompanying them, and they fit, they fit
  4             into that one group of both direct and PG.
  5                    Q.   For display do you view
  6             programmatic guaranteed as more similar to
  7             direct or more similar to open auction?
  8                         MS. MORGAN:      Object to the form.
  9                         MR. BLAISDELL:        Object to form.
 10                    A.   More similar to direct display.
 11                    Q.   Why do you view programmatic
 12             guaranteed display as more similar to direct
 13             display than to open auction display?
 14                    A.   Traditionally, direct display,
 15             direct video and audio have insertion orders
 16             and a relationship with an agency and/or
 17             advertiser that insertion order has a
 18             guarantee that they will transact and attempt
 19             to deliver the amount of impressions, the
 20             products that they purchased and the revenue
 21             associated with that insertion order.          Those
 22             qualities are also present in programmatic
 23             guaranteed and that is why they are more
 24             similar than and -- I'm sorry -- dissimilar
 25             to the open auction which do not have a

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             impression guarantee and oftentimes or most
  3             of the time do not have a relationship
  4             directly with the agency or advertiser and
  5             there is no revenue guarantee.
  6                    Q.   What differences, if any, are there
  7             between PMP display and open auction display?
  8                    A.   The primary differences between
  9             open auction and PMP display, open auction we
 10             are opening our supply to a number of SSP
 11             providers to fill based on the rules that we
 12             have implemented both in Google Ad Manager
 13             and within those SSP providers.             PMP through,
 14             those same SSP providers, we are working with
 15             advertisers and/or agencies to create a
 16             direct connection, nonguaranteed deal with no
 17             revenue or impression guarantees through that
 18             SSP to deliver directly on The New York
 19             Times.
 20                    Q.   Can you give me your best estimate
 21             of the relative size for The New York Times
 22             of open auction display compared to PMP
 23             display?
 24                         MR. BLAISDELL:        Object to form.
 25                    A.   I believe I answered part of this,

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             comes from open auction; is that right?
  3                         MS. MORGAN:      Objection to form,
  4                    lacks foundation.
  5                    A.   Can you repeat the question?
  6             Sorry.
  7                    Q.   Earlier you said that of the
  8             combined revenue from PMP and open auction
  9             display, PMP accounts for                            of
 10             that; is that correct?
 11                   A.    That is correct.
 12                   Q.    Why has -- and so open auction
 13             would then account for                          ; is
 14             that right?
 15                   A.    That is correct.         That was my best
 16             guess.
 17                   Q.    Why has The New York Times not been
 18             able to grow the percentage of its
 19             programmatic display revenue that comes from
 20             PMP more?
 21                         MS. MORGAN:      Objection to form.
 22                         MR. BLAISDELL:        Object to form.
 23                   A.    There are many factors into why our
 24             PMP has not grown as, or share has not grown
 25             to the level that we would like it to be.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             One, our supply can change and ultimately
  3             grow open auction at a faster rate.          PMPs
  4             also require the seller -- I'm sorry -- the
  5             agency or advertiser to want to set up a PMP.
  6             There is a different sales cycle that goes
  7             into that that is ultimately can slow things
  8             down and advertisers have preferences in
  9             whether transacting through open auction,
 10             direct or PMP, across PMP channels, and it
 11             makes it hard to grow it as easily as, you
 12             know, supply growth.
 13                    Q.   Do you know if the percentage of
 14             The New York Times programmatic revenue that
 15             comes from PMP for display has grown over the
 16             past three years or decreased or stayed the
 17             same?
 18                         MS. MORGAN:      Objection to form.
 19                    A.   We have seen changes in PMP revenue
 20             which are both self-inflicted decisions and
 21             also market related.       Over the past few years
 22             there has been market-related impacts to
 23             programmatic and advertising generally.           Most
 24             notably around the COVID-19 Pandemic which
 25             started in March 2020, which saw a decline in

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             advertising generally, which was not, and
  3             PMPs were not immune to.            There are also
  4             avoidance around large negative news events
  5             such as 2022's Russia/Ukraine war where
  6             advertisers did not want to surround that
  7             type of content.       And then we have made
  8             self-inflicted decisions to remove open
  9             auction from app for a period of time, which
 10             would have suppressed PMP revenue.
 11                    Q.   It's okay if you don't know, but do
 12             you know whether the percentage of The New
 13             York Times' programmatic display revenue that
 14             comes from PMP has increased, decreased or
 15             stayed the same over the past three years?
 16                    A.   I don't know.
 17                    Q.   That's fine.
 18                         One of the things you mentioned,
 19             let me ask you about open auction and app at
 20             The New York Times; is that okay?
 21                    A.   Yes.
 22                    Q.   So at one point The New York Times
 23             stopped using open auction for app; is that
 24             right?
 25                    A.   Yes.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   From January of 2020 The New York
  3             Times did not shut off open auction for web;
  4             is that correct?
  5                         MR. BLAISDELL:        Object to form.
  6                    A.   That is correct.         This decision was
  7             isolated to apps.
  8                    Q.   Why in January of 2020 did New York
  9             Times turn off open auction, open auction for
 10             app, but not web display?
 11                         MS. MORGAN:      Objection to form.
 12                    A.   We isolated that decision to app as
 13             we are prioritizing that reader experience
 14             which has predominantly made up of
 15             subscribers -- is predominantly made up of
 16             subscribers.
 17                    Q.   What was different about web for
 18             purposes of this decision?
 19                    A.   Web has a broad base number of --
 20             broad-based number of, broad-based number of
 21             readers and types of readers, both
 22             subscribers, registered readers and then also
 23             anonymous or nonauthenticated readers coming
 24             to The New York Times.
 25                    Q.   And then I think you said recently

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             The New York Times has turned on open auction
  3             for app; is that correct?
  4                    A.   That is correct.
  5                    Q.   When was that approximately?
  6                    A.   We have been experimenting with and
  7             considering turning it back on for roughly
  8             six months in Q4 and Q1, so between
  9             October 2022 and roughly March of 2023, we
 10             were experimenting.
 11                    Q.   Why did The New York Times turn
 12             open auction back on for app?
 13                    A.   The addition was made after
 14             balancing a number of different
 15             considerations.     One, we felt like we had the
 16             appropriate understanding and levers to
 17             better control ad quality, so when ads were
 18             resumed on app they weren't going to have the
 19             same potential impact as what they would have
 20             potentially had in 2020 or at the beginning
 21             of 2020.
 22                         We all of a sudden understood that
 23             or we believed that the ad experience or
 24             reader experience would not be deteriorated
 25             too greatly or enough to impact the

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             engagement metrics that we monitor and that
  3             the revenue gained by this decision would be
  4             advantageous to the business.
  5                    Q.   Do you have an understanding of
  6             whether turning open auction back on for app
  7             did increase, did lead to an increase in
  8             revenue for The New York Times?
  9                    A.   Yes.
 10                    Q.   And what is that understanding?
 11                    A.   My understanding is that once the
 12             app was, open auction was reactivated within
 13             app there were revenue gains from that
 14             activation.
 15                    Q.   In your role at New York Times
 16             would you ever recommend that The New York
 17             Times turn off open auction for web display?
 18                         MR. BLAISDELL:          Object to form.
 19                         MS. MORGAN:        Objection to form.
 20                    A.   In my role at The New York Times,
 21             it is strictly, strictly based and focused on
 22             advertising and for the betterment of
 23             advertising and advertising revenue.            I would
 24             not be able to make that recommendation with
 25             those responsibilities of my role.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   Why would you not recommend that
  3             The New York Times turn off open auction for
  4             web display advertising?
  5                         MS. MORGAN:      Objection to form.
  6                    A.   As my obligation to my role, it is
  7             my responsibility to drive revenue as
  8             effectively and efficiently as possible.
  9             Turning off open auction on web environments
 10             would have a programmatic material impact to
 11             the programmatic number.
 12                    Q.   Why do you think that turning off
 13             open auction would impact turning off --
 14                         MR. VERNON:      Can I start over?
 15                         THE WITNESS:       Yes.
 16                    Q.   Why do you think that turning off
 17             open auction for web display would have an
 18             impact on The New York Times' revenue when
 19             advertisers would have the option of using
 20             direct display instead?
 21                         MR. BLAISDELL:        Object to form.
 22                         MS. MORGAN:      Objection to form.
 23                    A.   There are many advertisers that
 24             have the preference of buying
 25             programmatically versus directly with an

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             advertiser or with a publisher, and turning
  3             off open auction would eliminate those
  4             advertisers from accessing our supply and
  5             serving ads and thus making revenue from
  6             those advertisers.
  7                    Q.   Why do you say that there are many
  8             advertisers who have the preference of buying
  9             display ads programmatically as opposed to
 10             directly?
 11                    A.   We know in our relationships with
 12             agencies that there are advertisers and many
 13             advertisers that do buy directly have
 14             preference for programmatic for select
 15             campaigns, whether that campaign is focused
 16             on a unique KPI or it is simply easier to do
 17             and -- yeah.
 18                    Q.   Can you give an example of why in
 19             your experience you believe an advertiser
 20             would prefer to buy display ads
 21             programmatically as opposed to directly?
 22                    A.   In my experience, I have seen many
 23             advertisers prefer open auction buying
 24             through their DSP into a publishers' SSPs for
 25             revenue -- I'm sorry -- for CPM efficiencies

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             and reporting gains.
  3                    Q.   When you refer to CPM efficiencies,
  4             what do you mean?
  5                    A.   Typically CPMs through open auction
  6             are cheaper than going directly to a
  7             publisher.
  8                    Q.   Can you give a ballpark, your
  9             ballpark estimate, at least for The New York
 10             Times, for what a standard CPM would be for
 11             an open auction and what a standard CPM would
 12             be for direct display?
 13                         MR. BLAISDELL:        Object to form.
 14                    A.   The prices range largely on the
 15             seasonality and the environment of the
 16             macroeconomic situation at the time.          We have
 17             seen open auction rates, and they also depend
 18             on the surface such as web, desktop web and
 19             on apps.    We have seen those range wildly,
 20             based on those different times of the year,
 21             and then also on the platform or surface that
 22             they're running on.
 23                    Q.   Can you give your best estimate as
 24             to the range of CPMs that New York Times sees
 25             for open auction display?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MR. BLAISDELL:        Object to form.
  3                    A.   The best guess for open auction
  4             CPMs, aggregated for a year to account for
  5             seasonality, I would put in the range between
  6
  7                    Q.   And what's your best estimate for
  8             The New York Times for the range of CPMs that
  9             New York Times would see for direct display?
 10                         MS. MORGAN:      Object to form.
 11                         MR. BLAISDELL:        Object to form.
 12                    A.   Direct CPMs vary wildly for the
 13             same considerations, seasonality, economic
 14             situations, and also advertisers have
 15             different, buy, purchase different products
 16             which can dramatically change their CPM for
 17             their media plan.      The range or best guess of
 18             a range that I can provide ranges from
                      for their overall media plan eCPM, best
 20             guess.
 21                    Q.   When we were talking about
 22             advertisers who, as you see it prefer open
 23             auction over direct display, one of the
 24             things you mentioned was, I think, reporting
 25             efficiencies.    If I remember that correctly,

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             can you explain what you meant?
  3                         MR. BLAISDELL:          Object to form.
  4                    A.   Yes.    Revenue -- I'm sorry,
  5             reporting, when an advertiser and/or agency
  6             is working with a number of publishers,
  7             including The New York Times, and in this
  8             example, they are required to get reporting
  9             from each of the publishers to understand the
 10             performance of their campaign.                Programmatic
 11             allows them the capability of pulling
 12             reporting from one, one source, their DSP in
 13             which they're using.         That efficiency can
 14             help the advertisers and/or agencies to have
 15             a better understanding of where their, how
 16             their ads are performing.
 17                    Q.   Can you give me your best estimate
 18             for the breakdown of what percentage The New
 19             York Times' revenue comes from on the one
 20             hand direct display and on the other hand the
 21             combination of open auction and PMP?
 22                         MS. MORGAN:        Objection to form.
 23                         MR. BLAISDELL:          Object to form.
 24                    A.   Can you please clarify or repeat
 25             the question?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   Sure.
  3                         Can you give me your best estimate
  4             for, as of today, the percentage of The New
  5             York Times' display revenue comes from on the
  6             one hand from direct display and on the other
  7             hand any other channel, whether it be open
  8             auction displays, programmatic guaranteed PMP
  9             or anything else?
 10                         MS. MORGAN:         Objection to form.
 11                         MR. BLAISDELL:           Object to form.
 12                    A.   Speaking specifically for digital
 13             display in advertising, programmatic open
 14             auction and PMP would contribute, depending
 15             on the time of year and the seasonality,
 16             would contribute anywhere between
                            .
 18                    Q.   And what percentage of The New York
 19             Times is digital display advertising revenue
 20             today would come from direct display?
 21                         MR. BLAISDELL:           Object to form.
 22                    A.   Can you repeat the question?
 23                    Q.   Sure.
 24                         What percentage of The New York
 25             Times display revenue today, approximately,

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             comes from direct display?
  3                         MR. BLAISDELL:          Object to form.
  4                    A.   From direct display, my best guess
  5             approximation would be between
                            .
  7                   Q.    In that percentage, are you
  8             including programmatic guaranteed?
  9                   A.    Yes.
 10                   Q.    One of the things that I think you
 11             mentioned was The New York Times prioritizes
 12             direct; is that fair?
 13                   A.    Yes.
 14                   Q.    Why does New York Times not just
 15             turn off open auction completely and only do
 16             direct for display?
 17                         MS. MORGAN:        Objection to form.
 18                         MR. BLAISDELL:          Object to form.
 19                   A.    We balance that.           There is a number
 20             of reasons why we would not make that
 21             decision or have not made that decision.
 22             Again, there are a large number of
 23             advertisers and agencies and campaigns of
 24             specific advertisers that have, that prefer
 25             programmatic.      Shutting off programmatic

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             would remove that capability and that revenue
  3             that we would earn.
  4                    Q.   If I remember correctly, when you
  5             turned off open auction for app that was
  6             around the beginning of 2020; is that right.
  7                    A.   From what I recall, yes.
  8                    Q.   At that time were there any
  9             material changes to the take rates for open
 10             auction for app?
 11                         MR. BLAISDELL:         Object to form.
 12                         MS. MORGAN:       Objection to form.
 13                    A.   No, not that I recall.
 14                    Q.   When The New York Times turned open
 15             auction back on for app, were there any
 16             material changes in the take rates for open
 17             auction for app?
 18                         MR. BLAISDELL:         Object to form.
 19                    A.   No.
 20                    Q.   Was The New York Times' decision to
 21             turn off open auction for app, did it have
 22             any connection to take rates?
 23                         MR. BLAISDELL:         Object to form.
 24                    A.   No.
 25                    Q.   Did New York Times' decision to

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             turn on open auction for app have any
  3             connection to take rates?
  4                         MR. BLAISDELL:          Object to form.
  5                    A.   No.
  6                    Q.   Approximately how many advertisers
  7             buy direct display ads from The New York
  8             Times, just ballpark?
  9                         MR. BLAISDELL:          Object to form.
 10                    A.   Ballpark, between
                      , would be my best guess for direct
 12             advertisers.
 13                    Q.   Ballpark, how many advertisers buy
 14             open auction display ads from The New York
 15             Times?
 16                         MR. BLAISDELL:          Object to form.
 17                    A.   I don't know.
 18                    Q.   Would it be more than
                      ?
 20                         MR. BLAISDELL:          Object to form.
 21                    A.   Yes.
 22                    Q.   Substantially more?
 23                         MS. MORGAN:        Object to form.
 24                         MR. BLAISDELL:          Objection.
 25                    A.   Yes.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   In practical terms, would it be
  3             feasible or not feasible for The New York
  4             Times to sell direct display ads to all of
  5             the advertisers that buy open auction display
  6             ads from The New York Times?
  7                         MR. BLAISDELL:         Object to form.
  8                    A.   Currently?      Currently, it would no
  9             not be feasible to sell to that number of
 10             advertisers directly.
 11                    Q.   Why is that?
 12                    A.   That number of advertisers would
 13             require a larger sales team and support
 14             operations, likely technical infrastructure,
 15             and the awareness of its availability to a
 16             lot of those advertisers, or the lack of
 17             awareness to those advertisers.
 18                    Q.   And I think as we discussed before,
 19             CPMs are higher for direct display than open
 20             auctions are; is that right?
 21                         MS. MORGAN:       Objection to form,
 22                    leading.
 23                         MR. BLAISDELL:         Object to form.
 24                    Q.   Given that CPMs are higher for
 25             direct display, is The New York Times already

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             doing as much as it can to sell as many of
  3             its ads through direct display as possible as
  4             opposed to open auction?
  5                         MS. MORGAN:      Objection to form.
  6                         MR. BLAISDELL:        Object to form.
  7                    A.   I don't know if it's as much as we
  8             can.
  9                    Q.   Is it fair to say that since CPMs
 10             are higher for direct display, The New York
 11             Times is trying pretty hard to sell as many
 12             of its ads directly as possible for display
 13             as opposed to through open auction display?
 14                         MR. BLAISDELL:        Object to form.
 15                         MS. MORGAN:      Objection to form.
 16                    A.   I think that's fair to say that we
 17             are trying very hard to sell as much as we
 18             can directly.
 19                         MR. BLAISDELL:        Mr. Vernon, we've
 20                    been going a bit longer than an hour
 21                    without a break.      Whenever you reach a
 22                    natural stopping point, I would like to
 23                    have a break here.
 24                         MR. VERNON:      Yes.      There is a few
 25                    more questions in this vain, and then if

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    for some reason we're not done soon,
  3                    then we will take break.
  4                    Q.   I think you said before Google's
  5             decision -- oh, sorry -- New York Times'
  6             decision to turn on and then -- turn off and
  7             then turn on open auction for app wasn't
  8             based on take rates; is that right?
  9                    A.   That is correct.
 10                    Q.   If open auction take rates were to
 11             increase by ten percent,
                            , is it fair to say The New York
 13             Times would not shift a significant number of
 14             transactions from open auction to direct?
 15                         MS. MORGAN:      Objection to form.
 16                         MR. BLAISDELL:        Object to form.
 17                    A.   In that hypothetical scenario
 18             you've laid out, we would continue to pursue
 19             our strategy of shifting as much revenue
 20             towards direct as possible, regardless of the
 21             take rate increase.       In that hypothetical, if
 22             the take rate did increase we would continue
 23             operating programmatic, programmatically and
 24             negotiate with our SSP providers.
 25                    Q.   What do you mean by negotiate with

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             SSP providers?
  3                    A.   Each of our SSPs have a contract
  4             with us in which we negotiate business terms.
  5                    Q.   Would a ten percent increase in
  6             open auction take rates change how hard The
  7             New York Times is looking to sell ads
  8             directly as opposed to through an open
  9             auction display?
 10                         MR. BLAISDELL:        Object to form.
 11                         MR. VERNON:      Objection to form.
 12                    A.   In this hypothetical scenario, I do
 13             not believe it would change the effort in our
 14             direct sales.    We would continue with the
 15             current gusto we have to sell directly.
 16                    Q.   Is it fair to say that the
 17             allocation that The New York Times places
 18             between direct display and open auction
 19             display isn't really based on take rates; is
 20             that fair?
 21                         MS. MORGAN:      Objection to form.
 22                    A.   We don't specify the allocation
 23             between direct and open, and the take rates
 24             do not impact that.
 25                    Q.   Right before you said The New York

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             Times just has a preference for direct; is
  3             that right?
  4                          MS. MORGAN:      Objection, form.
  5                    A.    Yes, that's correct.
  6                    Q.    What connection, if any, is there
  7             between New York Times preference for direct
  8             and open auction take rates?
  9                          MS. MORGAN:      Objection to form.
 10                    A.    There is no connection.
 11                    Q.    If open auction take rates were to
 12             increase by ten percent, how likely is it
 13             that that would change, The New York Times
 14             would shift a significant number of display
 15             impressions from open auctions to direct?
 16                          MR. BLAISDELL:        Object to form.
 17                    A.    It's a difficult question to
 18             answer.     We -- it's not easily done to shift
 19             advertisers from open auction to direct,
 20             because advertisers in select campaigns have
 21             a preference for programmatic and we would
 22             have a difficult time convincing them to go
 23             from open auction to direct, and it would
 24             also be a challenge to connect with all of
 25             the advertisers that are currently buying

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                                                                        Page 242

  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             through open auction.
  3                         MR. VERNON:         Okay.      We're happy to
  4                    take a break.       We can go off the record.
  5                         THE VIDEOGRAPHER:             Standby, please.
  6                    The time is 3:41 p.m.            We are going off
  7                    the record.      This will end media unit
  8                    number 4.
  9                         (A brief recess was taken.)
 10                         THE VIDEOGRAPHER:             The time is
 11                    3:54 p.m.     We are back on the record,
 12                    and this will be the start of media unit
 13                    number 5.
 14                         Counsel.
 15                    Q.   Okay.     What is the phrase --
 16             welcome back, Mr. Glogovsky.
 17                    A.   Thank you.
 18                    Q.   Let's get back into it.
 19                         What does the phrase "open web"
 20             mean?
 21                    A.   From my interpretation, that is the
 22             open web in which users of the web can access
 23             or read content across the web and the many
 24             websites available to it.
 25                    Q.   Does phrase "open web" include app?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.   No.
  3                    Q.   In your understanding -- I will
  4             move on.
  5                         At the beginning of the day,
  6             counsel asked you about who The New York
  7             Times competes with, when The New York Times
  8             sells to advertisers.          Do you remember that?
  9                    A.   Yes.
 10                    Q.   Who do you view as the New York
 11             Times' main competitors when The New York
 12             Times sells programmatic display ads?
 13                         MR. VERNON:        Sorry.         Can I
 14                    rephrase?
 15                         THE WITNESS:         Yes.
 16                    Q.   Who do you view as The New York
 17             Times' main competitors when The New York
 18             Times is selling display ads to advertisers?
 19                    A.   It's a complex question and has a
 20             lot of variables.        We see a number of
 21             different competitors when selling digital
 22             display ads.      There are obviously other
 23             premium publishers out there directly selling
 24             to agencies and advertisers that we are
 25             competing, competing against and oftentimes

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             to answer.    We are oftentimes on an RFP with
  3             premium publishers, and they would be a
  4             direct competitor for that specific RFP.
  5             There are other instances where advertisers
  6             and agencies have separate budgets that are
  7             carved out for different digital advertising
  8             platforms and formats that The New York Times
  9             does not play in, but that budget is carved
 10             out and removed from the premium publisher,
 11             you know, carveout of that budget.
 12                    Q.   One of the things that I think you
 13             said was there are times when there is a
 14             budget -- I might get this wrong -- that The
 15             New York Times is removed from --
 16                         MR. VERNON:         Hold on.       Let me look
 17                    at my text thingy, hold on.
 18                    Q.   Okay.     I think you said there are
 19             some instances in which The New York Times is
 20             carved out of a budget -- and I apologize, if
 21             I'm not getting that 100 percent right -- can
 22             you just explain what you meant by that?
 23                    A.   Sure.     It's our understanding
 24             through our relationships with advertisers
 25             and agencies that most advertisers and

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             agencies will have a multifaceted advertising
  3             campaign for a specific campaign.               And that
  4             would be across a number of publishers, that
  5             can be both a direct budget where they are
  6             going directly to publishers.               There is
  7             oftentimes a programmatic component and there
  8             is also oftentimes a video or a social
  9             component as well and each of these
 10             initiatives oftentimes have different budgets
 11             in which we can and cannot compete with
 12             actively.    There is also instances where
 13             there are advertisers that have a initial
 14             desire to go direct, and resort to
 15             programmatic.
 16                    Q.   Between the two of other premium
 17             publishers and social platforms, which of
 18             those two do you view as New York Times' main
 19             competitor when New York Times is selling
 20             display ads to advertisers?
 21                         MS. MORGAN:      Objection to form.
 22                         MR. BLAISDELL:        Objection to form.
 23                    A.   When it comes to advertisers that
 24             are specifically seeking out relationships
 25             with publishers, we would be competing

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             directly with other premium publishers.
  3                    Q.   I think, tell me if I'm hearing you
  4             right, I think what you're saying is, The New
  5             York Times' main competitor when The New York
  6             Times is selling display ads is other premium
  7             publishers; is that correct?
  8                         MS. MORGAN:      Objection to form,
  9                    misstates the testimony.
 10                    A.   When an advertiser is, has the
 11             desire, a campaign that has a desire to run
 12             on premium publishers, we would be competing
 13             with other premium publishers from that
 14             circumstance, yes.
 15                    Q.   Do you have an understanding of why
 16             there are some advertisers that have a
 17             separate budget for social for which The New
 18             York Times is not included?
 19                         MS. MORGAN:      Objection to form.
 20                         MR. BLAISDELL:        Object to form.
 21                    A.   My limited understanding is
 22             oftentimes social is considered a different
 23             medium for advertising and they carve out
 24             those budgets or allocate their overall
 25             budget spend to social on a separate line

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             item, so they can track that appropriately.
  3                    Q.   Why did you say that oftentimes
  4             social is considered a different medium for
  5             advertising?
  6                    A.   That is our limited understanding
  7             through the relationships that we have built
  8             up through agencies and advertisers.            There
  9             are examples where there are separate social
 10             teams within, within marketers and agencies
 11             managing those budgets.
 12                         MR. VERNON:      I will move to a
 13                    different topic.
 14                    Q.   Why does The New York Times sell
 15             both display ads and other types of ads, like
 16             app or like audio?
 17                         MR. BLAISDELL:        Object to form.
 18                         MS. MORGAN:      Object to form.
 19                    A.   We consider display ads as display
 20             ads that are eligible to run on web
 21             environments and app.        We wouldn't consider
 22             app being a separate product, and we do sell
 23             more than just display ads.            We sell audio as
 24             audio as an endeavor that we are investing in
 25             to grow our reach and broadening the

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             population that is aware of The New York
  3             Times, and likely and eventually to subscribe
  4             to The New York Times.
  5                    Q.   Let me rephrase my question a
  6             little bit.
  7                         Why did The New York Times sell
  8             both web display ads and app ads and other
  9             types of ads like audio?
 10                         MS. MORGAN:         Objection to form.
 11                         MR. BLAISDELL:           Object to form.
 12                    A.   Can you clarify your question?
 13                    Q.   Sure.
 14                         So what I'm trying to get at is,
 15             why not just go all in on one type of ad?
 16             Does that make sense?
 17                    A.   Yes.
 18                    Q.   Let me try reasking it, just so
 19             it's clear.
 20                         Why doesn't The New York Times sell
 21             both web display ads and other types of ads
 22             like app ads or audio ads?
 23                         MR. BLAISDELL:           Object to form.
 24                    A.   We do not consider apps as being a
 25             separate ad product.          It is one ad product

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             under digital display running across web and
  3             apps.    Selling ads and audio would be a
  4             separate ad and we are -- we are selling
  5             those ads because the audience and the size
  6             of the opportunity is worthwhile to put ads
  7             into the experience and grow our ad business.
  8                    Q.   I heard one of the things that you
  9             said was you think web apps and app -- I'm
 10             sorry -- you think web display ads and app
 11             ads are in the same category; is that right?
 12                    A.   Yes.
 13                    Q.   Setting aside whether they're in
 14             the same category, why does The New York
 15             Times sell both web display ads and app ads?
 16                         MR. BLAISDELL:          Object to form.
 17                    A.   When we are in market and selling
 18             to direct advertisers and agencies, we are
 19             selling one product that goes across platform
 20             across web and apps and do not make the
 21             specification of apps or web, unless the
 22             advertiser specifically asks for the app or
 23             web.    So we do not call them out
 24             individually.
 25                    Q.   Why would The New York Times not

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             sell only ads on its website and just turn
  3             off app ads completely?
  4                         MS. MORGAN:      Objection to form.
  5                    A.   We wouldn't turn off apps, app ads
  6             or ads in app completely is and only sell in
  7             web because app makes up a large share of our
  8             page views and subscribers and that would be
  9             materially and adversely impact the
 10             advertising revenue number by only
 11             concentrating our ads to one environment type
 12             such as web.
 13                    Q.   And similar question, why would The
 14             New York Times not sell only app ads and just
 15             turn off web display ads completely?
 16                         MS. MORGAN:      Objection to form.
 17                    A.   Similarly, we have a strong
 18             presence on desktop and mobile web where many
 19             readers, both subscribers, registered users
 20             and people that have yet to subscribe or
 21             register coming to web, and turning off ads
 22             in web environments would adversely impact
 23             the ad revenue number.
 24                    Q.   Is it fair to say that The New York
 25             Times tries to get as many readers as

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             possible both on its app and on the web?
  3                    A.   I think it's fair to say that The
  4             New York Times is getting, its goal is to get
  5             as many readers as possible, and encouraging
  6             them to read The Times in where they find it
  7             most comfortable.
  8                    Q.   How easy or difficult would it be
  9             for The New York Times to shift a significant
 10             number of readers from web to app?
 11                         MR. BLAISDELL:           Object to form.
 12                         MS. MORGAN:         Objection to form.
 13                    A.   Can you clarify the question?
 14                    Q.   Sure.     Let me think about this.
 15                         Some readers read The New York
 16             Times on the web; is that right?
 17                    A.   Yes.
 18                    Q.   And some readers read The New York
 19             Times in The New York Times' app; is that
 20             fair?
 21                    A.   Yes.
 22                    Q.   Does The New York Times try to
 23             shift readers from either the web to app or
 24             in the other direction?
 25                         MR. BLAISDELL:           Object to form.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MS. MORGAN:      Objection to form.
  3                    A.   The New York Times' goal is to
  4             making sure all of our subscribers and
  5             readers are aware of the many surfaces that
  6             we make available to them to read.          So there
  7             are efforts to make that known to them in a
  8             more prominent way, but ultimately looking
  9             for the readers to be reading where they're
 10             most comfortable and engaged.
 11                    Q.   I guess ultimately The New York
 12             Times is sort of agnostic whether a reader
 13             reads New York Times in app or web; is that
 14             fair?
 15                         MR. BLAISDELL:        Object to form.
 16                         MS. MORGAN:      Object to form.
 17                    A.   We are agnostic as it relates to we
 18             are encouraging them to be engaged and repeat
 19             readers and ultimately subscribing to The New
 20             York Times.
 21                    Q.   How easy or difficult would it be
 22             for The New York Times to shift a significant
 23             amount of readers from the web to app?
 24                         MR. BLAISDELL:        Object to form.
 25                         MS. MORGAN:      Objection to form.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.    There are preferences by many
  3             readers not to shift and it would be a
  4             difficult, difficult prospect to shift a
  5             large majority of readers or completely to
  6             app, because there are habits of many
  7             readers, both subscribers and registered
  8             users, and I'm assuming also nonsubs that
  9             would be prefer to read in a web environment.
 10                    Q.    How easy or difficult would it be
 11             for The New York Times to shift a significant
 12             number of advertising impressions from web to
 13             app?
 14                          MS. MORGAN:      Objection to form.
 15                          MR. BLAISDELL:        Object to form.
 16                    A.    We as an advertising department for
 17             direct sold advertising, continue to sell
 18             cross-platform and allow our ads to deliver
 19             across both web, mobile web and desktop web,
 20             and our apps equally as where there is
 21             supply.     So that natural shift would happen
 22             as our readers shift.
 23                    Q.    So for the purposes of my question,
 24             let me ask you to set aside the sort of the
 25             natural shift that readers initiate.           Is that

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             fair?
  3                    A.   Yes.
  4                    Q.   How easy or difficult would it be
  5             for The New York Times to shift a significant
  6             number of readers from web to app?
  7                         MR. VERNON:        I'm sorry, can I start
  8                    over?
  9                         THE WITNESS:         Yes.
 10                    Q.   How easy or difficult would it be
 11             for The New York Times to shift a number, a
 12             significant number of advertising impressions
 13             from web to app?
 14                         MS. MORGAN:        Objection to form.
 15                         MR. BLAISDELL:          Object to form.
 16                    A.   In a hypothetical scenario, we
 17             would be able to make the decision to shut
 18             off the capability of serving ads on
 19             web-based environment and shift them
 20             completely to app, but that would be not
 21             within the strategy of our ads business.
 22                    Q.   Why is that?
 23                    A.   It is our goal to monetize all of
 24             our available surfaces effectively and
 25             efficiently as possible.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   Would you recommend that The New
  3             York Times shift a significant number of
  4             advertising impressions from web to app?
  5                         MR. BLAISDELL:         Object to form.
  6                         MS. MORGAN:       Objection to form.
  7                    A.   The responsibilities of my role,
  8             focusing on revenue and the shepherding of ad
  9             revenue growing as well, no, I would not make
 10             that recommendation.
 11                    Q.   Why would you not recommend that
 12             The New York Times shift a significant number
 13             of advertising impressions from web to app?
 14                    A.   One of the many reasons why I do
 15             not believe that would be the ideal solution
 16             is that there are measurement limitations
 17             for app, for our advertisers and one of the
 18             other reasons is that


                              .
 21                    Q.   Would you recommend that The New
 22             York Times shift a significant number of
 23             significant advertising impressions from web
 24             to pre-roll video?
 25                         MS. MORGAN:       Objection to form.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MR. BLAISDELL:         Object to form.
  3                         MS. MORGAN:       Lacks foundation.
  4                    A.   In my role to secure revenue I
  5             would not make that recommendation at The New
  6             York Times.
  7                    Q.   Why would you not recommend that
  8             The New York Times shift a significant number
  9             of advertising impressions from web to
 10             pre-roll video?
 11                    A.




 16                    Q.   Let me ask you a question about a
 17             different types of video.
 18                         I think you said earlier that there
 19             is a, when we were looking at a document,
 20             there is a type of video that The New York
 21             Times includes in the display category.           Did
 22             I get that correct?
 23                    A.


 25                    Q.   What is the difference between the

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             type of video that The New York Times
  3             includes in its display category and the --
  4             at the video ads, The New York Times does not
  5             include in its display category?
  6                    A.




 11                    Q.   I see.




                              ?
 15                         MR. BLAISDELL:         Object to form.
 16                    A.   That is correct.
 17                    Q.   Let me see if I can get this right.
 18                         Is the open auction in PMP video
 19             revenue that's included in the display
 20             category, videos that play on the text-based
 21             page of The New York Times' website?
 22                    A.   The video revenue within that line
 23             item would be the video revenue that runs
 24             within video player and would be classified
 25             as either pre-roll or mid-roll or post-roll

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2
  3                    Q.   I see.      Do other publishers
  4             group -- is this type of video sometimes
  5             referred to as in-stream video?
  6                    A.   Yes.
  7                    Q.   Is in-stream video sometimes
  8             treated as separate from display?
  9                         MS. MORGAN:         Objection to form.
 10                         MR. BLAISDELL:           Object to form.
 11                    A.




 15                    Q.   Do you have an understanding of
 16             whether the industry other than The New York
 17             Times treats in-stream video as part of
 18             display or as something separate?
 19                         MR. BLAISDELL:           Object to form.
 20                    A.   My understanding generally would
 21             be, it is treated differently within their
 22             documents, is my suspicion.
 23                    Q.   Okay.




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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.
  3                    Q.   Okay.




  8                         MR. BLAISDELL:           Object to form.
  9                    A.   That's correct.
 10                         MR. VERNON:         My apologies for that.
 11                    Q.   Would you recommend that The New
 12             York Times switch a significant number of
 13             advertising impressions from display to
 14             audio?
 15                         MR. BLAISDELL:           Object to form.
 16                         MS. MORGAN:         Objection to form.
 17                    A.   I believe that there is a growing
 18             opportunity in audio and would like to see
 19             more advertisers buying within audio and
 20             populating our ad spots within our available
 21             podcasts.    I would encourage our team to sell
 22             more audio and potentially use the
 23             opportunity to shift digital display direct
 24             sold campaigns into audio.
 25                    Q.   Are your ads primarily, at least

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             for The New York Times, primarily sold
  3             directly or by open auction?
  4                    A.   Primarily direct, direct.
  5                    Q.


  7                         MR. BLAISDELL:        Object to form.
  8                    A.
  9                    Q.


 11                         MR. BLAISDELL:        Object to form.
 12                    A.
 13                    Q.   How easy or difficult do you think
 14             it would be for The New York Times to switch
 15             open auction display ads to audio?
 16                         MR. BLAISDELL:        Object to form.
 17                         MS. MORGAN:      Objection to form.
 18                    A.   In my opinion, it would be
 19             difficult due to the fact that audio ads are
 20             a more nascent ad experience and more
 21             publishers are coming on and we're launching
 22             more podcasts as well, and also the scale
 23             would be much smaller than what is available
 24             to our display business today.
 25                    Q.   Earlier counsel from Google asked

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             you about native.         Do you remember that?
  3                    A.   I do.
  4                    Q.   Did The New York Times consider
  5             adopting some types of native ads that it
  6             ultimately did not implement?
  7                         MR. BLAISDELL:           Object to form.
  8                    A.   We have largely been focused on
  9             populating the current available ad spots
 10             within our content with display ads and
 11             native ads that met our esthetic
 12             requirements, but we have not considered
 13             native ads in which it looks too much like
 14             content.
 15                    Q.   Why is that?
 16                    A.   It is our goal to have a natural
 17             understanding for the readers of where
 18             editorial starts and ends and not to be
 19             confused with advertising.
 20                    Q.   Do you have understanding of
 21             whether The New York Times is more focused on
 22             direct display ads than other premium
 23             publishers?
 24                         MR. BLAISDELL:           Object to form.
 25                         MS. MORGAN:         Objection to form.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.   Can you clarify the question?
  3                    Q.   One of the things I think you
  4             referred to earlier was that The New York
  5             Times was very focused on direct display ads;
  6             is that correct?
  7                         MS. MORGAN:      Objection to form.
  8                    A.   That is correct.
  9                    Q.   Do you have an understanding of
 10             whether The New York Times is more or less
 11             focused on direct display ads than other
 12             publishers?
 13                         MR. BLAISDELL:        Object to form.
 14                    A.   I think it's fair to say that The
 15             New York Times places a larger emphasis on
 16             direct sold advertising than some other
 17             publishers, as different publishers have
 18             different strategies than what The New York
 19             Times has adopted.      We have also been
 20             successful in securing and preserving strong
 21             relationships with agencies and brands
 22             directly.
 23                    Q.   What is it about The New York Times
 24             that makes The New York Times more focused on
 25             direct display ads than some other publishers

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             might be?
  3                         MR. BLAISDELL:          Object to form.
  4                    A.   It is our goal to transact
  5             directly, because we want to ensure we know
  6             who is running on The New York Times against
  7             our editorial content, and also direct
  8             advertising trades at higher multiples than
  9             programmatic and gives us the security of
 10             knowing who is on our site and making sure
 11             that we have the longevity within our
 12             business.
 13                    Q.   One of the things we discussed or
 14             you discussed with counsel before was
 15             LiveIntent.    Do you remember that?
 16                    A.   Yes.
 17                    Q.   I think you said that The New York
 18             Times uses LiveIntent as its ad server for
 19             newsletters; is that correct?
 20                    A.   That is correct.
 21                    Q.   How possible or not possible would
 22             it be for The New York Times to use
 23             LiveIntent as its ad server for display?
 24                         MR. BLAISDELL:          Object to form.
 25                         MS. MORGAN:        Objection, form.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.   I am unaware of all of the
  3             capabilities that LiveIntent makes available
  4             to their publisher partners.               I am only aware
  5             of their newsletter ad serving capabilities.
  6                    Q.   Do you know one way or the other
  7             whether LiveIntent provides display publisher
  8             ad server capabilities?
  9                    A.   I am not aware of that capability
 10             for web- and app-based environments.
 11                    Q.   How easy or difficult would it be
 12             for The New York Times to use more than one
 13             publisher ad server for display?
 14                         MS. MORGAN:         Objection to form.
 15                         MR. BLAISDELL:           Object to form.
 16                    A.   Can you repeat the question?
 17                    Q.   Sure.
 18                         How easy or difficult would it be
 19             for The New York Times to use more than one
 20             publisher ad server for display?
 21                    A.   It would be operationally
 22             challenging to rotate between two different
 23             ad servers for the personnel and teams
 24             responsible for trafficking and monitoring
 25             the campaign performance for our advertisers.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             It would also be technically challenging as
  3             new infrastructure would have to be spun up
  4             and then maintained and managed.              It would be
  5             difficult.
  6                    Q.   Earlier we were talking about
  7             transparency.      Do you remember that?
  8                    A.   Yes.
  9                    Q.   Is transparency by SSPs important?
 10                         MR. BLAISDELL:          Object to form.
 11                    A.   Yes.
 12                    Q.   Why is that?
 13                         MR. BLAISDELL:          Object to form.
 14                    A.   It's our belief that we should have
 15             an understanding of which advertisers are
 16             serving on our properties, the number of
 17             times they are serving on our properties, the
 18             performance of those ads serving on our
 19             properties, and ultimately the revenue
 20             contributed by those ads and the price in
 21             which they were purchased.
 22                    Q.   Would you say that the fairest way
 23             to run an auction for display would be to
 24             have every exchange have access to the same
 25             information and be able to compete on a level

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MR. BLAISDELL:        Object to form.
  3                         MS. MORGAN:      Objection to form.
  4                    A.   It would be fair if the data that
  5             was shared was universally understood and
  6             consistent.    Not all of the data that is
  7             created from programmatic auctions is
  8             valuable to the publisher, and ultimately,
  9             not always valuable to the decision around
 10             the ad being placed, and so it would have to
 11             be well understood or well established of
 12             what the data is.
 13                    Q.   At least for the data that is
 14             valuable, would the most fair way to run an
 15             auction be that every exchange has equal
 16             access to that data?
 17                         MR. BLAISDELL:        Object to form.
 18                         MS. MORGAN:      Object to form.
 19                    A.   With that understanding, I think
 20             that's fair.
 21                    Q.   Would it be a fair way to run an
 22             auction for display to have one exchange be
 23             able to see the highest bid from all of the
 24             other exchanges and then bid later?
 25                         MR. BLAISDELL:        Object to form.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MS. MORGAN:      Objection to form,
  3                    lacks foundation.
  4                    A.   Can you repeat the question?
  5                    Q.   Would it be a fair way to run an
  6             auction to have all of the exchanges but one
  7             bid first and then have one exchange see the
  8             highest bid and that exchange had the
  9             opportunity to bid last?
 10                         MR. BLAISDELL:        Object to form.
 11                         MS. MORGAN:      Objection to form.
 12                    A.   In that scenario, depending on
 13             seeing those bids and then coming over the
 14             top could be perceived as unfair, seeing
 15             those bids and ultimately placing the bid
 16             that was originally going to be placed would
 17             be fair.
 18                    Q.   I'm sorry, can you explain?        I
 19             didn't quite hear you.         Can you explain what
 20             would be fair and what would not be fair?
 21                         MS. MORGAN:      Objection, form.
 22                    A.   In this scenario, what you laid
 23             out, the one exchange seeing all of the bids
 24             placed by the other exchanges, and then
 25             placing their bid.      In the scenario where

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             they could do that and then place a higher
  3             bid, knowing that they would win, could be
  4             reasonably seen as unfair.           If the exchange
  5             which saw the other bids and still placed the
  6             original bid that they had already won and
  7             then inserts it would be a fair auction.
  8                    Q.   I see what you're saying.         Based on
  9             your experience in the industry you're
 10             familiar with Google's Last Look; is that
 11             fair?
 12                    A.   I'm aware.
 13                    Q.   Under the way the Last Look worked,
 14             at least until 2019 AdX had the opportunity
 15             to see the highest bid from every other
 16             exchange and then after that decide whether
 17             to bid or not bid; is that correct?
 18                         MS. MORGAN:      Objection to form.
 19                    A.   From my understanding, that's what
 20             I understand.
 21                    Q.   Do you believe that Google's Last
 22             Look was fair or unfair?
 23                         MR. BLAISDELL:        Object to form.
 24                         MS. MORGAN:      Objection to form.
 25                    A.   With my limited understanding of

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             the technical component, I could understand
  3             where that could be perceived as unfair to
  4             some -- to members of the industry.
  5                    Q.   Why is it that you could understand
  6             why Google's Last Look could be perceived as
  7             unfair to some members of the industry?
  8                         MS. MORGAN:      Objection to form.
  9                    A.   I do not have all of the knowledge
 10             and technicality behind it to confidently say
 11             strongly that it would include everyone.           I
 12             would assume that there were members that did
 13             not communicate whether they thought -- or
 14             their opinion.
 15                    Q.   Just from your opinion though,
 16             setting aside other opinions, in your opinion
 17             do you view Google's Last Look as being fair
 18             or unfair?
 19                    A.   In a personal capacity, I believe
 20             that Last Look and other features by Google
 21             and other programmatic partners have helped
 22             improve fill rate, and there are potential
 23             auction limitations that could potentially be
 24             unfair, in my personal capacity.
 25                    Q.   Overall, in your personal capacity,

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             do you think Google's, Google's Last Look was
  3             more fair or more unfair?
  4                         MS. MORGAN:      Objection to form.
  5                         MR. BLAISDELL:        Object to form.
  6                    A.   In my personal capacity, I can see
  7             it as being more unfair.
  8                    Q.   And why do you say that?
  9                    A.   My personal preference is always
 10             understanding the -- the auction dynamics and
 11             better understanding how the winning bid is
 12             ultimately won and ultimately placed on to a
 13             publisher's website.
 14                    Q.   Let me switch topics slightly.          I
 15             think we discussed before, you understand
 16             that Google's AdX, publishers only have
 17             access to Google's AdX if they use DFP; is
 18             that right?
 19                         MS. MORGAN:      Objection to form.
 20                    A.   That is my understanding.
 21                    Q.   And personally would you either
 22             prefer or not prefer that publishers have the
 23             option to use AdX without also using DFP?
 24                         MR. BLAISDELL:        Object to form.
 25                    A.   Can you repeat the question?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    Q.   In your personal capacity, would
  3             you prefer or not prefer that publishers have
  4             the option to have access to AdX without
  5             using DFP as their publisher ad server?
  6                         MS. MORGAN:      Objection to form.
  7                    A.   In my personal capacity, I would
  8             prefer Google AdX and Google Ad Manager
  9             together, or not available without Google
 10             manager, ad manager.
 11                    Q.   I see.   Let me just reask it so
 12             it's clean.
 13                         From your personal capacity, would
 14             you prefer or not prefer that publishers have
 15             the option to access AdX without using DFP as
 16             their publisher ad server?
 17                         MS. MORGAN:      Objection to form.
 18                    A.   In my personal capacity, I would
 19             not prefer.
 20                    Q.   Can you explain what you mean by
 21             that?
 22                    A.   In my personal capacity, I prefer
 23             Google Ad Manager and AdX and the benefits of
 24             them being connected for the efficiencies
 25             that the publishers, The New York Times

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             included, gain from being in one system and
  3             the reduction in operations, operational
  4             burden that it saves.
  5                    Q.   I think I'm asking a different
  6             question.
  7                         In your personal capacity, would
  8             you prefer that publishers have the -- prefer
  9             or not prefer that publishers have the option
 10             of having access --
 11                         MR. VERNON:        Restart.        Is that
 12                    okay?
 13                         THE WITNESS:         Yes.
 14                    Q.   Is it fair to say publishers, in
 15             your opinion, do have the option to use both
 16             DFP and AdX together; is that fair?
 17                         MR. BLAISDELL:          Object to form.
 18                         MS. MORGAN:        Objection to form.
 19                         THE WITNESS:         Sorry.       Repeat the
 20                    question.
 21                    Q.   Publishers have the option today of
 22             using both DFP and AdX together; is that
 23             fair?
 24                    A.   Yes, that is fair.
 25                    Q.   In your personal capacity, would

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             you prefer that publishers also have the
  3             option of using, of getting access to AdX
  4             without, if they choose, without using DFP as
  5             their publisher ad server?
  6                         MR. BLAISDELL:        Object to form.
  7                    A.   In my personal capacity, I would
  8             not prefer giving publishers the capability
  9             of accessing AdX with a different ad server.
 10                    Q.   Why is that?
 11                    A.   In my personal opinion, I believe
 12             the efficiencies and the standards it creates
 13             help drive the ultimate ad format creation
 14             and ultimately benefits publishers to benefit
 15             from the economies of scale that one platform
 16             provides, in my personal capacity.
 17                    Q.   It's at least fair to say that it's
 18             at least technically possible that publishers
 19             in theory could access the AdX without using
 20             DFP as their publisher ad server; is that
 21             fair?
 22                         MR. BLAISDELL:        Object to form.
 23                         MS. MORGAN:      Objection to form.
 24                    A.   I do not know.
 25                    Q.   Will you agree that the publishers

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             should have the opportunity to choose the
  3             publisher ad server that they prefer?
  4                         MR. BLAISDELL:        Object to form.
  5                         MS. MORGAN:      Objection to form.
  6                    A.   Can you repeat the question?
  7                    Q.   Would you agree that publishers
  8             should have the opportunity to choose the
  9             publisher ad server that they prefer?
 10                         MR. BLAISDELL:        Object to form.
 11                    A.   I agree that publishers should be
 12             able to freely make the decision for their ad
 13             server.
 14                    Q.   Would you agree that publishers
 15             should have the opportunity to choose a
 16             publisher ad server other than DFP and still
 17             get access to AdX?
 18                         MS. MORGAN:      Objection to form.
 19                         MR. BLAISDELL:        Object to form.
 20                    A.   In my personal capacity, I prefer
 21             that Google AdX and Google Ad Manager benefit
 22             from the features and the standardization
 23             that it provides.
 24                    Q.   Would it be better for publishers
 25             to have two options with one being using DFP

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             and AdX separately and the other option being
  3             using them together?
  4                          MS. MORGAN:      Objection to form.
  5                          MR. BLAISDELL:        Object to form.
  6                    A.    It's a difficult question to
  7             answer.     I think that publishers deserve the
  8             right to evaluate all of the options
  9             available to them, and the ad technology
 10             partners out there competing and making the
 11             decision for themselves on whether or not
 12             they want to go with a specific ad technology
 13             partner or not.
 14                    Q.    Are there any strongly viable
 15             alternatives to DFP as a publisher ad server
 16             today?
 17                          MR. BLAISDELL:        Object to form.
 18                          MS. MORGAN:      Objection to form.
 19                    A.    We have not conducted an RFI
 20             process recently for an ad server for a
 21             digital display, and I am unaware currently
 22             through that process of any other possible
 23             options that we would consider.
 24                    Q.    Do you know if there is a viable
 25             alternative to DFP as a display publisher ad

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             server today?
  3                         MR. BLAISDELL:        Object to form.
  4                         MS. MORGAN:      Objection to form.
  5                    A.   I am not aware of one that we would
  6             consider as a solution for The New York
  7             Times.
  8                    Q.   Are you aware that some companies
  9             have exited the publisher ad server market?
 10                         MS. MORGAN:      Objection to form.
 11                    A.   I am aware that there are ad tech
 12             companies that have left the marketplace, as
 13             the marketplace has evolved over time, and
 14             changed since the inception of digital
 15             display advertising.
 16                    Q.   Specifically about publisher ad
 17             servers, are you aware of companies that
 18             exited the publisher ad server market?
 19                    A.   I would assume that that would
 20             include ad server companies, as well as other
 21             ad tech companies.
 22                    Q.   Are you aware that OpenX exited the
 23             publisher ad server business?
 24                    A.   We have used OpenX primarily as a
 25             programmatic SSP and have not evaluated them

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             because of the connections between DFP and
  3             AdX?
  4                         MS. MORGAN:      Objection to form,
  5                    lacks foundation.
  6                         MR. BLAISDELL:        Object to form.
  7                    A.   I believe it's difficult to answer,
  8             because there are unique propositions by most
  9             ad tech companies whether it be SSPs or ad
 10             servers that are competing with one another,
 11             and my spec -- my opinion would be purely
 12             speculation, whether it was hard or not.
 13                    Q.   Can you identify a strong
 14             competitor for Google as a publisher ad
 15             server today?
 16                         MS. MORGAN:      Objection to form.
 17                    A.   For The New York Times we have not
 18             recently RFI'd solutions for ad serving and
 19             we have not taken the actions to identify a
 20             potential replacement to Google Ad Manager.
 21                    Q.   Do you know whether there is a lot
 22             of competition for Google as a publisher ad
 23             server today for display?
 24                         MR. BLAISDELL:        Object to form.
 25                         MS. MORGAN:      Objection to form.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    A.   It depends on what Google perceives
  3             as competition for both ad serving and
  4             monetization, and I would not be in the
  5             position to say whether or not there is high
  6             level of competition that Google perceives or
  7             not.
  8                    Q.   Could you at least understand why
  9             it might be hard to compete with Google in
 10             the publisher ad server business because of
 11             the connections between DFP and AdX?
 12                         MS. MORGAN:      Objection to form.
 13                         MR. BLAISDELL:        Object to form.
 14                    A.   I can reasonably understand that as
 15             a reason that others may point to.
 16                    Q.   Is it fair to say that it could be
 17             better for competition if AdX were available
 18             separately from DFP?
 19                         MS. MORGAN:      Objection to form.
 20                         MR. BLAISDELL:        Object to the form.
 21                    A.   In this hypothetical scenario,
 22             assuming that there were available
 23             competitors of potential -- or of the
 24             necessary size to compete and fill the vacant
 25             inventory, it would be potentially beneficial

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2             in this hypothetical scenario.
  3                    Q.   So it's fair to say that it could
  4             be potentially beneficial for publishers to
  5             have the option to use DFP without using AdX;
  6             is that correct?
  7                         MS. MORGAN:       Objection to form.
  8                         MR. BLAISDELL:         Object to form.
  9                    A.   If it was exclusively focused on
 10             programmatic open auction revenue that would
 11             be potentially a benefit in this hypothetical
 12             scenario.    However, there are other
 13             considerations publishers would need to
 14             consider and ensure that they have taken on
 15             the understanding of the operational burden
 16             and tax that it would require the
 17             infrastructure, the capital intensivity in
 18             both in costs and in also how it would impact
 19             their other lines of business.
 20                         So it's not purely just an open
 21             auction answer.
 22                    Q.   Is it fair to say that it could be
 23             good for competition in the publisher ad
 24             server business if AdX were available
 25             separately from DFP?

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         MS. MORGAN:       Objection to form.
  3                    A.   In this hypothetical scenario, with
  4             the appropriate competitors, of the size, to
  5             fill this space that is being left behind in
  6             this decision, it could be potentially
  7             beneficial.    However, there are other factors
  8             that publishers would need to consider in
  9             that switch or change in their strategy.
 10                    Q.   Why do you say that it could
 11             potentially be beneficial for competition for
 12             AdX to be available separately from DFP?
 13                    A.   It's not a certainty that
 14             competition will meet the current level of
 15             competition, and because of that, I cannot
 16             unequivocally confirm that it would be a
 17             benefit or not.
 18                    Q.   Setting aside whether it's a
 19             certainty, why do you say that it could be
 20             better for competition if AdX were separately
 21             available from DFP?
 22                    A.   Theoretically there could be more
 23             players in the space, which could potentially
 24             drive up CPMs and benefit publishers
 25             ultimately to make more revenue.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                     A.   For programmatic open and PMP,
  3
                                                             .
  5                   Q.     When The New York Times is
  6             competing to sell display ads to advertisers,
  7             what format is its primary competitor?           Is it
  8             display or native or something else?
  9                          MS. MORGAN:      Objection to form.
 10                   A.     Can you clarify, programmatic or
 11             direct?
 12                   Q.     Both, then I guess if the answer --
 13             both.
 14                   A.     Programmatically our primary
 15             competition is display ads, and for direct,
 16             we are focused on selling our proprietary ad
 17             formats, which could be considered native,
 18             and we do consider them native because they
 19             take on the look and feel of The New York
 20             Times.
 21                   Q.     For programmatic display ads, when
 22             The New York Times is competing to when, to
 23             sell ads to advertisers, what format is your
 24             primary competition?
 25                          MR. BLAISDELL:        Object to form.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                             MS. MORGAN:      Objection to form.
  3                    A.       Display.
  4                    Q.       Counsel also asked you about AdX
  5             tags.      Do you remember that?
  6                    A.       I do recall.
  7                    Q.       I think earlier in your deposition
  8             you said that tags were inefficient; was that
  9             correct?
 10                             MS. MORGAN:      Objection to form.
 11                    A.       Traditionally, we have seen tags as
 12             being
                            .
 14                    Q.       Why do you view tags as
                                                                ?
 16                   A.        It is our --
 17                             MR. BLAISDELL:        Objection.    Sorry.
 18                   Object to form.
 19                   A.




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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2


  4                         MR. VERNON:      So I am going to pass
  5                    the witness and again reserve the
  6                    balance of my time either to respond to
  7                    questions by Google's counsel or for the
  8                    document issue that I identified before.
  9                         MR. BLAISDELL:        I will just
 10                    reiterate we don't intend to make the
 11                    witness available again.             I'll also note
 12                    for the record that based on my
 13                    understanding of the coordination order,
 14                    the Department of Justice has already
 15                    exceeded three hours on the record
 16                    today, and therefore, I'm not totally
 17                    clear on what time Mr. Vernon has
 18                    reserved, but that's something we can
 19                    work out at a subsequent juncture.
 20                         MS. MORGAN:      Well, I think I will
 21                    make this easy for everyone, and I am
 22                    not going to have any further questions
 23                    for you today, Mr. Glogovsky.             To the
 24                    extent that Jeff prevails and is able to
 25                    secure more time with u in the future, I

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                    will reserve the rest of my time to use
  3                    then.
  4                           MR. VERNON:       Thank you
  5                    Mr. Glogovsky, to Demetri and the court
  6                    reporter, Google's counsel and
  7                    everybody.     Definitely appreciate it.
  8                    It's been a long day and we thank you
  9                    for your time.
 10                           MS. MORGAN:       I second that.      Thank
 11                    you.    I know it's painful to sit for a
 12                    deposition, especially on a summer
 13                    Friday, and we really appreciate the
 14                    time.
 15                           MR. BLAISDELL:         Sorry.    Just before
 16                    we go off the record, I will also note
 17                    that The Times also objects to
 18                    Ms. Morgan's attempt to reserve time for
 19                    some subsequent deposition.             We've made
 20                    the witness available now for the time
 21                    that the parties were permitted to
 22                    examine him, and it's our position that
 23                    there will be no further deposition for
 24                    no further questioning by either party
 25                    to this case.

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  1                  GLOGOVSKY - HIGHLY CONFIDENTIAL
  2                         THE VIDEOGRAPHER:             Okay to close
  3                    the record?
  4                         MS. MORGAN:         Yes, we can close it.
  5                         THE VIDEOGRAPHER:             Standby.   This
  6                    concludes today's deposition given by
  7                    James Glogovsky.         The number of media
  8                    units used is six and will be retained
  9                    by Veritext Legal Solutions.             We are
 10                    going off the record at 5:26 p.m.,
 11                    Eastern Daylight Time.             Thank you,
 12                    everybody.     Have a great weekend.            Nice
 13                    working with you.
 14                         (Time noted:          5:26 p.m.)
 15
 16
 17
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 25

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                                                                 Page 300

  1
  2             STATE OF ______________)
  3                                          ) :ss
  4             COUNTY OF _____________)
  5
  6
  7                        I, JAMES GLOGOVSKY, the witness
  8                  herein, having read the foregoing
  9                  testimony of the pages of this
 10                  deposition, do hereby certify it to be a
 11                  true and correct transcript, subject to
 12                  the corrections, if any, shown on the
 13                  attached page.
 14
 15                                     ______________________
 16                                        JAMES GLOGOVSKY
 17
 18             Sworn and subscribed to before
 19             me, this               day of
 20                            , 2023.
 21             _______________________________
 22             Notary Public
 23
 24
 25           Job No. CS6072653

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  1
  2             -------------- I N D E X -----------------
  3             WITNESS          EXAMINATION BY      PAGE
  4             JAMES GLOGOVSKY MS. MORGAN         6, 287
  5                              MR. VERNON           140
  6             --------------- EXHIBITS ------------------
  7             NYT                               FOR I.D.
  8
                 Exhibit 1, Document entitled, "Ad            41
  9              Leadership Update-March4," Bates
                 Nos. NYTGOOGADTECH0000004 through
 10              NYTGOOGADTECH0000019
 11              Exhibit 2, Document entitled,                81
                 "Nytimes.com/ad.txt."
 12
                 Exhibit 3, Document entitled,                103
 13              "Index Exchange Bidder Test
                 Results," Bates Nos.
 14              NYT_TXAG_00000108 through
                 NYT_TXAG_00000115
 15
                 Exhibit 4, E-mail dated 10/25/18,            124
 16              Bates Nos. GOOG-DOJ-AT-00587215 and
                 GOOG-DOJ-AT-00587216
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  1       Demetri Blaisdell Esq.
  2       dblaisdell@nytimes.com
  3                                     August 28, 2023
  4       RE:        United States, Et Al v. Google, LLC
  5             8/25/2023, James Glogovsky (#6072653)
  6             The above-referenced transcript is available for
  7       review.
  8             Within the applicable timeframe, the witness should
  9       read the testimony to verify its accuracy. If there are
 10       any changes, the witness should note those with the
 11       reason, on the attached Errata Sheet.
 12             The witness should sign the Acknowledgment of
 13       Deponent and Errata and return to the deposing attorney.
 14       Copies should be sent to all counsel, and to Veritext at
 15       erratas-cs@veritext.com
 16
 17        Return completed errata within 30 days from
 18      receipt of testimony.
 19          If the witness fails to do so within the time
 20      allotted, the transcript may be used as if signed.
 21
 22                          Yours,
 23                         Veritext Legal Solutions
 24
 25

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  2       James Glogovsky (#6072653)
  3                            E R R A T A        S H E E T
  4       PAGE_____ LINE_____ CHANGE________________________
  5       __________________________________________________
  6       REASON____________________________________________
  7       PAGE_____ LINE_____ CHANGE________________________
  8       __________________________________________________
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 20       __________________________________________________
 21       REASON____________________________________________
 22
 23       ________________________________                  _______________
 24       James Glogovsky                                           Date
 25

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